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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

   LIFESTYLE COMMUNITIES, LTD., et al.,     )   Civil Action 2:22-CV-1775
                                            )
               Plaintiffs,                  )
         v.                                 )   Judge Sarah D. Morrison
                                            )
   CITY OF WORTHINGTON, OHIO,               )
                                            )   Magistrate Judge Elizabeth P. Deavers
               Defendant.                   )

                 PLAINTIFFS’
                 PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT




                             EXHIBIT 02
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                       LIFESTYLE COMMUNITIES

                                        vs.

                        CITY
                        CITY OF WORTHINGTON




                                  Deposition of

                              Matthew Greeson



                               October 06, 2023




                  LI               PRI COURT
                  V*               REPORTING
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      ·1
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       2 · · · · · · ·SOUTHERN
      ·2·              SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION
      · · · · · · · · · · ·EASTERN
       3
      ·3

       4 ·LIFESTYLE
      ·4·  LIFESTYLE COMMUNITIES,
                     COMMUNITIES,· · · ))
           LTD., ET AL.,
      · · ·LTD.,    AL.,· · · · · · · ·)
                                       )
      ·5·
       5 · · · · · · · · · · · · · · ·))
                 Plaintiffs, · · · · ·)
      · · · · · ·Plaintiffs,·          )
      ·6·
       6 · · · · · · · · · · · · · · ·))
                 vs. · · · · · · · · ·)·
      · · · · · ·vs.·                  ) Case No.
                                       ) 2:22-cv-1775
       7 · · · · · · · · · · · · · · ·)·
      ·7·
           CITY OF WORTHINGTON,
      · · ·CITY    WORTHINGTON,· · · · ))
      ·8·  OHIO, · · · · · · · · · · ·)
       8 ·OHIO,·                       )
      · · · · · · · · · · · · · · · · ·)
                                       )
       9 · · · ·Defendant.·
      ·9·        Defendant. · · · · · ))

      10

      11

      12
      12· · · · · · · · · · · DEPOSITION

      13
      13· · · · · · · · · Of
                          of MATTHEW GREESON

      14

      15
      15· · · · · · Taken at worthington
                             Worthington City Hall
                                              Hall
      · · · · · · · · · 6550 North High Street
      16
      16· · · · · · · ·Worthington,
                       worthington, Ohio 43085

      17
      17· · · · · ·on
                   on October 6, 2023, at 9:00 a.m.

      18

      19             Reported by: Rhonda Lawrence
      19· · · · · · ·Reported

      20

      21
      21· · · · · · · · · · · · ·-=0=-

      22

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      ·1·
       1 ·APPEARANCES:
          APPEARANCES:

       2
      ·2
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      · · · · · ·Christopher
       3 · · · ·VORYS
      ·3·        VORYS SATER SEYMOUR AND PEASE LLP
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      · · · · · ·52
       4 · · · ·Columbus,
      ·4·        Columbus, Ohio 43215
                 614.464.5480
      · · · · · ·614.464.5480
      ·5·
       5 · · · ·clingram@vorys.com
                 clingram@vorys.com

       6 · · · · · · on behalf of the Plaintiffs.
      ·6·

       7
      ·7
                 Paul J. Schumacher
      · · · · · ·Paul
       8 · · · ·DICKIE
      ·8·        DICKIE McCAMEY
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                 600 Superior Avenue East, Suite 2330
                 Cleveland, Ohio 44114
       9 · · · ·Cleveland,
      ·9·
      · · · · · ·216.390.1795
                 216.390.1795
      10         pschumacher@dmclaw.com
      10· · · · ·pschumacher@dmclaw.com

      11
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      12         Richard J. Silk, Jr.
      12· · · · ·Richard
      · · · · · ·DICKIE
                 DICKIE McCAMEY
      13         10 West
      13· · · · ·10 west Broad Street, Suite 1950
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      · · · · · ·Columbus,
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      14· · · · ·614.258.6000
                 rsilk@dmclaw.com
      · · · · · ·rsilk@dmclaw.com
      15
      15· · · · · · · on behalf of the Defendant.

      16

      17

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      19

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      22                         -=0=-
      22· · · · · · · · · · · · ·-=0=-

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       1  · · · · · · · · · ·STIPULATIONS
                             STIPULATIONS

       2 · · · · · ·It
      ·2·           It is stipulated by and among counsel
       3 ·for
      ·3· for the respective parties that the deposition
       4 ·of
      ·4· of MATTHEW GREESON, the Witness
                                  witness herein, called

       5 ·by
      ·5· by the Plaintiffs under the applicable Rules of
       6 ·Federal
      ·6· Federal civil
                  Civil court
                        Court Procedure, may be taken at

       7 ·this
      ·7· this time by the stenographic court reporter and
       8 ·notary
      ·8· notary public pursuant to notice; that said
          deposition may be reduced to writing
       9 ·deposition
      ·9·

      10   stenographically by the court reporter, whose
      10· ·stenographically

      11   notes thereafter may be transcribed outside the
      11· ·notes

      12   presence of the witness; and that the proof of
      12· ·presence

      13   the official character and qualification of the
      13· ·the

      14   notary is waived.
      14· ·notary

      15                         -=0=-
      15· · · · · · · · · · · · ·-=0=-

      16
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                                                                            Page 34
       1 ·there's
      ·1· there's a balance of -- that could mean
       2 ·economic,
      ·2· economic, that could mean, you know,
       3 ·opportunities
      ·3· opportunities for green space, and that could
       4 ·mean
      ·4· mean opportunities for living.
                                 living.· Some balanced

       5 ·combination
      ·5· combination of all of those potentially, as well
                                                      well
       6 ·as
      ·6· as development that supported the city's budget
       7 ·and
      ·7· and didn't zap its ability to continue to
       8 ·provide
      ·8· provide high-quality services.

       9 · · ·Q.·
      ·9·     Q. okay.
                  Okay.· she
                         She goes on to say in the next

      10   sentence, in order to evaluate current market
      10· ·sentence,

      11   reality and long-term viability for
      11· ·reality

      12   redevelopment of the site, contracting with a
      12· ·redevelopment

      13   consultant is recommended.
      13· ·consultant

      14           what type of consultant would be
      14· · · · · ·What

      15   utilized to guide this redevelopment?
      15· ·utilized

      16       A. well,
      16· · · ·A.· Well, since we at that time had one

      17   planner on staff, and now only have, 1
      17· ·planner                              I believe,

      18   two -- "we" being the city
      18· ·two                   City of worthington,
                                         Worthington, which

      19   I'm no longer a part of -- 1
      19· ·I'm                        I believe she meant a

      20   planning consultant that assisted in the wide
      20· ·planning

      21   range of skill set to help do the things she's
      21· ·range

      22   outlined in the memo.
      22· ·outlined

      23       Q. okay.
      23· · · ·Q.· Okay.· And certainly, you can recall

      24   MKSK being retained to update the city's 2005
      24· ·MKSK


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                                                                      Matthew Greeson
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                                                                            Page 35
       1 ·comprehensive
      ·1· comprehensive plan.·
                        plan. I believe their work

       2 ·started
      ·2· started a year after this.
       3 · · ·A.·
      ·3·     A. Yes.

       4 · · ·Q.·
      ·4·     Q. Is this recommendation -- was this kind

          of the genesis of that effort with MKSK?
       5 ·of
      ·5·

       6 · · · · ·MR.
      ·6·             SCHUMACHER:· You mean this memo?
                  MR. SCHUMACHER:

       7 · · · · ·MR.
      ·7·             INGRAM:· Correct.
                  MR. INGRAM:

              A. I don't think the sole memo was the
       8 · · ·A.·
      ·8·

       9 ·genesis
      ·9·            it.· The genesis of it was a very
          genesis of it.
      10   important context sensitive piece of property in
      10· ·important

      11   our community that had been the source of a lot
      11· ·our

      12   of dialogue about its future in the 2005
      12· ·of

      13   comprehensive plan, if the -- you know, where
      13· ·comprehensive

      14   they were looking at if UMCH never ceased to
      14· ·they

      15   exist as a social service purpose on that
      15· ·exist

      16   property and changed their mission, what might
      16· ·property

      17   it become.·
      17· ·it become. Even prior to that, their discussion
      18   about, you know, as they sold off pieces of the
      18· ·about,

      19   property or contemplated pieces of the property,
      19· ·property

      20   it was important.
      20· ·it     important.· The operations had been

      21   controversial, and periodically throughout
      21· ·controversial,

      22   umcH's operational history they had had conflict
      22· ·UMCH's

      23   with the community, and being a built-out
      23· ·with

      24   community, this property, whatever you want to
      24· ·community,


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                                                                      Matthew Greeson
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           Cunningham to assist our council in
        1 ·Cunningham
       ·1·

        2 ·understanding
       ·2· understanding improvements to our code, and they

           adopted a change in the code to allow for
        3 ·adopted
       ·3·

        4 ·planned
       ·4· planned unit developments, which our code, which

           was largely written in the very beginning of --
        5 ·was
       ·5·

        6 ·well,
       ·6· well, it was largely written in the early

        7 ·'70s
       ·7· '70s -- didn't accommodate.

        8 · · ·Q.·
       ·8·         Was the creation of the PUD and the -- I
               Q. was

           guess the output from Ms. cunningham's
        9 ·guess
       ·9·                           Cunningham's work --

       10   did that occur before the 2014 comprehensive
       10· ·did

       11   plan update?
       11· ·plan

       12       A. I don't specifically recall, but I
       12· · · ·A.·

       13   believe so.
       13· ·believe

       14                         -=0=-
       14· · · · · · · · · · · · ·-=0=-

       15
       15· · · · · · (Deposition
                     (Deposition Exhibit 17 marked.)
                                            marked.)

       16                         -=0=-
       16· · · · · · · · · · · · ·-=0=-

       17
       17· ·BY
            BY MR. INGRAM:

       18       Q. Mr. Greeson, you've been handed what's
       18· · · ·Q.·

       19   been marked as Exhibit 17.
       19· ·been                   17.· And for purposes of

       20   the record, Exhibit 17 is a letter from MKSK to
       20· ·the

       21   you, dated June 12, 2013, Bates numbered
       21· ·you,

       22   worthington 62382 through 62392.
       22· ·Worthington               62392.· Do you see

       23   that, Mr. Greeson?
       23· ·that,

       24       A. Yes.
       24· · · ·A.·


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                                                                      Matthew Greeson
                                                                              06, 2023
                                                                      October 06, 2023
                                                                            Page 77
       ·1·     A. I believe the meeting of 8-24, or
        1 · · ·A.·

        2 ·meetings
       ·2· meetings in that time frame.

        3 · · ·Q.·
       ·3·     Q. And who was that meeting with?

        4 · · ·A.·
       ·4·     A. Representatives of WARD, OWA, and then I

       ·5· believe Mr. Robinson.·
        5 ·believe     Robinson. Members
                                  members of the community,
           I should say, that were interested in the UMCH
        6 ·I
       ·6·

        7 ·project.
       ·7· project.
               Q. And Mr. Robinson, is this David
        8 · · ·Q.·
       ·8·

        9 ·Robinson,
       ·9· Robinson, the current president of the City

       10   Council of Worthington?
       10· ·Council    worthington?

                A. Yes.
       11· · · ·A.·
       11

       12       Q. And beneath his signature line of his
       12· · · ·Q.·

       13   email it says, Keep worthington
       13· ·email                           Beautiful in
                                Worthington Beautiful

       14   italics. Do you see that?
       14· ·italics.·

       15       A. Yes.
       15· · · ·A.·

       16       Q. what
       16· · · ·Q.· What was Keep Worthington
                                  worthington Beautiful, or
       17   what is it?
       17· ·what

       18       A. Keep worthington
       18· · · ·A.·                 Beautiful was a -- was
                        Worthington Beautiful

       19   a campaign -- well, that was the nomenclature or
       19· ·a

       20   marketing slogan, whatever you would call
       20· ·marketing                            call it --
       21   I'm not sure -- of the group that led a process
       21· ·I'm

       22   to amend the charter, which was Issue 38 on the
       22· ·to

       23   ballot and extended the time frame in which
       23· ·ballot

       24   signatures could be collected to place on the
       24· ·signatures


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                                                                      October 06, 2023
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           ballot, voter consideration of a zoning
        1 ·ballot,
       ·1·

        2 ·amendment.
       ·2· amendment.
        3 · · ·Q.·
       ·3·     Q. And at this time Mr. Robinson was not on

           city Council, correct?
        4 ·City
       ·4·

        5 · · ·A.·
       ·5·     A. 1I don't believe so.
                                   so.· 1
                                        I can't remember

        6 ·the
       ·6· the exact date he got elected, but no, 1
                                                  I don't

        7 ·think
       ·7· think so.
               Q. And based on your meetings with
        8 · · ·Q.·
       ·8·

        9 ·Mr.
       ·9· Mr. Robinson, what was his role within the Keep
       10   worthington Beautiful
       10· ·Worthington Beautiful campaign or whatever you
       11   want to call it?
       11· ·want

       12       A. 1
       12· · · ·A.· I don't think I'm the one that can

       13   define his role.·
       13· ·define     role. He was one of the leaders, 1
                                                        I

       14   would -- what that entailed, you'd have to ask
       14· ·would

       15   him.
       15· ·him.

       16       Q. Sure.
       16· · · ·Q.· Sure.· He was reaching out to you and

       17   had met with you and obviously discussed the
       17· ·had

       18
       18· ·UMCH
            UMCH property?

       19       A. 1
       19· · · ·A.· I had not had extensive conversations

       20   with Mr. Robinson about the property.·
       20· ·with                        property. He was,
       21   sometime in this time frame, beginning to join
       21· ·sometime

       22   kind of some of the conversations that had been
       22· ·kind

       23   ongoing, mostly questions that 1
       23· ·ongoing,                       I was getting

       24   from other citizens and that kind of had formed
       24· ·from


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                                                                      October 06, 2023
                                                                                  2023
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        1 · · · · · · · · · · CERTIFICATE
       ·1·

        2 ·STATE
       ·2·        OF OHIO
            STATE OF OHIO· · · :
                               .
       · · · · · · · · · · · · · ·SS:
                                  SS:
       ·3·
        3 ·COUNTY
            COUNTY OF FRANKLIN
                      FRANKLIN :

        4 · · · · · ·I,
       ·4·            I, Rhonda Lawrence, a stenographic
            court reporter and notary public in and for the
       · · ·court
       ·5·
        5 ·State
            state of Ohio, duly commissioned and qualified,
                                                    qualified,
       · · ·do
            do hereby  certify that  the  within-named MATTHEW
       ·6·
        6 ·GREESON
            GREESON was first duly sworn to testify to the
       · · ·truth,
            truth, the whole truth, and nothing but the
        7 ·truth
       ·7·  truth in the cause aforesaid; that
                                             that the testimony
       · · ·then
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       11             I certify that I am not a relative
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       12   the parties hereto and that I am not financially
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            set my hand at Columbus, Ohio, on this 20th day
       15· ·of
       15   of October, 2023.

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       21                         Rhonda Lawrence
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       22· · · · · · · · · ·Notary          State of
                                                  of Ohio

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       23   My commission expires:·
                          expires: October 9,
                                           9, 2028
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                          PRI Court Reporting, LLC  www.priohio.com
                                614.460.5000 or 800.229.0675
Case: 2:22-cv-01775-SDM-EPD Doc #: 65-3 Filed: 02/29/24 Page: 14 of 138 PAGEID #: 1885
                                                                                                         EXHIBIT

                                                                                                          /f




                                        MEMORANDUM

    TO:            Matthew H. Greeson, City Manager

    FROM:          Lynda B. Bitar, Development Coordinator

    DATE:          January 11, 2012

    SUBJECT:       United Methodist Children's Home (UMCH) Site Redevelopment


    As you know, thirty-eight acres of the United Methodist Children's Home (UMCH) property on
    High Street are currently for sale. The property is in the S-1 Zoning District, which would allow
    only public and semi-public uses. Although a buyer has not been identified, a proposal to
    redevelop the property with a mix of office, residential and/or retail uses is expected from any
    future owner. The UMCH property was highlighted in the Comprehensive Plan Update and
    2005 Strategic Plan (2005 Plan) for Worthington as an ideal site for a mixed use planned
    development with high density office, residential and limited retail. Two scenarios for
    redevelopment were part of the 2005 Plan, both of which included a large concentration of office
    development. Because Worthington is a fully developed community with few opportunities for
    redevelopment which will increase the tax base, it is critical that redevelopment of the site is
    guided to benefit the community in the future.

    In order to evaluate current market reality and long-term viability for redevelopment of the site,
    contracting with a consultant is recommended. Such consultant would be asked to study the site,
    including physical features, as well as past findings and planning work, and guide discussions of
    this project with the neighbors of this property, as well as the entire community including the
    Municipal Planning Commission, Community Improvement Corporation and City Council. A
    plan would be expected that includes site design to maximize the economic potential of the land
    while being sensitive to surrounding residential uses and the prominent position in the City, and
    shall include the current and future viability of any recommended change. In addition, an
    evaluation of the current Code, and detailed steps to accomplish the plan, including but not
    limited to recommendations for specific zoning text, are expected.

    Should a proposal for redevelopment be submitted to the City for review before the plan is
    complete, the consultant will be expected to assist the City in review of the proposal.

    A group to interview potential consultants should be formed as soon as possible.




                                                                                              Worthington 036387
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                                     Engagement of Special Counsel

        The City of Worthington is contemplating the engagement of Special Legal Counsel to
        assist the City in reviewing and evaluating its Comprehensive Plan, Zoning Code and
        other development documents. Our goal is to provide the City with the maximum legal
        flexibility in preparing to deal with the land use challenges we face, challenges caused by
        increasing pressure from developers to maximize the use of scarce land resources.

        More simply, the City wants to hire a zoning/land use lawyer to update the documents
        noted above so that the City can feel confident that its zoning and land-use related
        resources are not only up-to-date, but anticipate trends for the future. Although it would
        clearly be "your call," we anticipate that you might recormnend, following your review
        and consideration, amendments to the City Comprehensive Plan and Zoning Code. We
        are anticipating you might even recommend an innovative approach to the issues!

       Finally, while there are several locations around the City where review and evaluation are
       justified, we think it prudent to start with our two greatest challenges, the Wilson Bridge
       Corridor and the United Methodist Children's Home complex (UMCH). The UMCH site
       was only recently vacated as a place to care for troubled children. Because that is so, it is
       the right time to consider rezoning We are concerned about both sites, but particularly
       UMCH. The City has had some preliminary contact with a prospective developer of the
       UMCH site who wants to develop a "big box" for Giant Eagle. It appears that the
       community would not be favorable to a "big box" at that location.

       I will try to reach you by email or telephone on Thursday or Friday to ascertain your
       interest in being considered as Special Counsel to the City. Ultimately and if you have an
       interest, I will arrange for an interview with the City Manager (Matt Greeson), the
       Assistant City Manager (Robyn Stewart) the Development Coordinator (Lynda Bitar), the
       Development Manager (Jeff Harris) and me. The meeting may be as early as next week.
       We intend to extend invitations to three (3) Central Ohio lawyers of whom you are one. I
       will advise you more about our need to see reference materials and other information.

       Please call me at 880-1464 or 395-7931 if you have an interest in working with us on this
       project.




                                                                    EXHIBIT

                                                                                            Worthington 00317901
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  For Immediate Release:
  September 4, 2013
                                                                              Media Contact: Anne Brown
                                                                               Community Relations/PIO
                                                                                         (614) 854-7173


         City of Worthington Launching Visioning UMCH Process
  (Worthington, Ohio) - The City of Worthington is launching a process to update the community's vision
  for the United Methodist Children's Home property at 1033 High Street. The process is expected to
  result in an update to the City's Comprehensive Plan. The Comprehensive Plan serves as a land use
  policy document for the city. Its primary role is to create a vision for the city and provide
  recommendations to guide public policy, particularly in terms of land use-related issues.

  The City has selected the Columbus-based planning and design firm MKSK to lead the effort. MKSK is
  a highly-regarded, Columbus-based firm which brings together landscape architects, urban designers,
  graphic designers and certified planners to help communities plan vibrant places. Their work includes
  the Arena District and Scioto Mile in Columbus; the "Imagine Charleston" Plan for Charleston, West
  Virginia; Cheapside Park in Lexington, Kentucky; and Riverscape Phase III in Dayton.

  The goal of this initiative is to envision and evaluate potential redevelopment scenarios for the UMCH
  property that is located along the High Street Corridor north of downtown Worthington. The UMCH
  site was identified in the 2005 Worthington Comprehensive Plan as a key opportunity site for our land-
  locked city should it be sold and redeveloped in the future. The potential availability of this 41-acre
  property presents a rare opportunity for Worthington to experience redevelopment on a very visible site
  near the heart of Worthington. Starting in the fall of 2013, MKSK will meet with stakeholders, potential
  developers, and members of the Worthington community in order to determine improvement
  opportunities, economic development needs, and anticipated market demand for the site.

  This planning process will involve opportunities for the public to engage in the discussion through both
  public meetings and a web interface. The City and MKSK aim to gain consensus around a range of
  acceptable redevelopment options that respond to market potential, community priorities, site-related
  infrastructure needs, and appropriate planning and urban design goals. The resulting Vision Plan will
  facilitate future development and illustrate possible benefits for the community, city, land owner, and
  developer.

 The Vision Plan will be presented to the Worthington Planning Commission for consideration and
 recommendation to City Council as an update to the 2005 Worthington Comprehensive Plan. Currently,
 MKSK is gathering background information related to the site. Once that work is completed, the City
 will provide additional announcements regarding input opportunities as this project moves forward.
 Individuals are encouraged to sign up to receive email updates via the City of Worthington website at
 worthington.org. Click on the "e-News Sign-Up" icon in the middle of the home page, enter your email
 address and select the "Visioning UMCH" option. New information about the process and opportunities
 for public participation will be updated online as it is available. If you have questions, please email
 VisioningUMCH@ci.worthington.oh.us.



                                                                                               Worthington 062713
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                                       PLANNING & BUILDING


                                        MEMORANDUM

   TO:           Mathew Greeson, City Manager

   FROM:         R. Lee Brown, Director

   DATE:         September 27, 2013

  SUBJECT:       United Methodist Children's Home - Visioning UMCH


  Background:
  The City of Worthington is in the beginning phase of updating the community's vision for the United
  Methodist Children's Home (UMCH) property. The potential availability of this 41-acre property
  presents a rare opportunity for Worthington to experience redevelopment on a highly visible site near
  the heart of Worthington.

  This planning process will be an update to the existing 2005 Worthington Comprehensive Plan; the
  existing plan identified this property as a key site for redevelopment. The existing plan examined
  improvement opportunities and redevelopment potential for the site to enhance the quality of life
  within Worthington. The proposed update will further clarify how the community would like to see
  the site develop in the future.

  The public planning process will build community consensus on how the UMCH property develops in
  the future, while providing a potential new developer some confidence that their proposal would fit
  with the community, city, and land owner desires for the site as they go through the development
  process.

  MSI Design, now known as MKSK, prepared the 2005 Worthington Comprehensive Plan and is
  extremely familiar with the history of Worthington and is creative in working with communities to
  create vibrant and sustainable places. MKSK will meet with stakeholders, potential developers, and
  members of the Worthington community to determine improvement opportunities, economic
  development needs, and anticipated market demand for the site.




                                                                     EXHIBIT

                                                                                              Worthington 028538
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   Potential Objectives:
      • Envision a range of future redevelopment scenarios that are aspirational yet feasible under
          current and anticipated market demands.
      • Create redevelopment scenarios that recognize the critical resource and opportunity that
          developable ground represents within the city.
      • Provide a mix of desirable uses that are compatible with surrounding neighborhoods and are
          currently under served in Worthington.
      • Expand the City of Worthington's current tax base by incorporating uses that allow for new or
          enhanced sources of revenue.
      • Address housing needs for current and future residents by providing new housing options that
          are underrepresented in the market and complement Worthington's current offerings.
      • Strengthen the core of the city with a walkable and vibrant extension of Old Worthington that
          integrates with greater Worthington.
      • Provide suitably located organizational green space that is appropriately scaled to the proposed
         development.
      • Preserve and enhance existing natural features that are found on the site.
      • Educate and involve the community on the potential use and development of the property.
      • Generate employment opportunities within the city.

   Process:
      1. Kick-off Meeting — Completed
      2. Stakeholder Interviews — Completed
             a. UMCH
             b. WARD
             c. Worthington Business Community representatives (CIC, CVB, OWBA, and Chamber
                of Commerce)
      3. Walking Tour of UMCH Site — October 5th at 10:00 AM
             a. 1033 High Street, UMCH Administration Building Parking Lot
             b. The purpose is to walk around the property and gather input from the city and the
                community on their wants and desires for the site.
      4. Design Charrette — Target date of mid-October
             a. Limited sized group comprised of representatives of various interested groups from the
                community. The purpose and result will be input into the conceptual ideas generated for
                the Public Open House. Will involve designated representatives of City Council, MPC,
                WARD, UMCH, OWA and School District.
      5. Stakeholder Interviews — To be held after the Design Charrette
            a. UMCH
            b. WARD
            c. Worthington Business Community representatives
      6. Online dialog hosted on the City's website — after Design Charrette
            a. Public comments on the options generated at the Design Charrette
      7. Public Open House — Target date of early December
            a. Get community input on a variety of conceptual plan alternatives.
      8. Developer Meetings — Target date of mid-December
            a. Reach out to the development community to obtain input on various alternatives.
      9. Adoption Process
            a. Municipal Planning Commission — Target date of January 2014
            b. City Council — Upon recommendation of the MPC




                                                                                             Worthington 028539
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  Lindse , Tom

 From:                              Brown, Lee
 Sent:                              Thursday, January 18, 2018 12:48 PM
 To:                                Greeson, Matt
 Cc:                                Lindsey, Tom
 Subject:                           UMCH Talking Points
 Attachments:                       4632_001.pdf


 Matt-

 I received an email from Ed Miller with EMH&T concerning the UMCH site. They have been charged with the task of
 splitting off 5-acres of the UMCH site. It is my understanding from Ed that lifestyle Communities is contractually
 obligated to purchase 5-acres from the Board.

 I informed Ed that the site is located in the S-1 District (Special), and that It would need to meet legal minimum
 requirements of 2-acres for the lot size with 200-feet of road frontage. Please see attached map. I told him that the
 property would stay in the Architectural Review District if it was ultimately approved. We also discussed the uses that
 would be permitted on the site would need to match up with the uses for the S-1 District, and that if they wanted to do
 anything outside of those uses, they would need to rezone the property. I referenced a possible traffic study based on
 the highest possible use that would fit on the site under the S-1 District, but not 100% sure that we can tie them to that
 request, however I felt if this lot is created, it would have to have access and I wanted to think of worse can
 scenario. We could possibly require that there be "No Direct Access" to Evening and Longfellow and plat an easement
 of access through the remainder of the lot. Just thinking of ways to control.

I do not believe Lifestyle Communities has any plans at this time, however this just seems as a way to meet their
contractual requirements for 5-acres.

We still have the control on the site as it relates to Development Plans, ARB control and any rezoning that would be
requested.

I left a message for Bo Brownlee with Lifestyle Communities earlier today to see if he might have any additional
information to provide.

We can discuss more later.

Lee

R. Lee Brown, AICP
Director

City of Worthington
Planning & Building Department
374 Highland Avenue
Worthington, OH 43085
Main Line: 614.431.2424
Direct Line: 614.781.3539
Fax: 614.842.6336
www.worthington.org




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         REPLAT OF LOT 2 OF UNITED METHODIST CHILDREN'S HOME AMENDED SUBDIVISION                                                                                                                                                         3


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12718




           Smith, Doug
           From:   Greeson, Matt </O=COW-EXCHANGE/OU=EXCHANGE ADMINISTRATIVE GROUP
                   (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=MGREESON>
           Sent:   Tue 4/19/2016 8:20 PM (GMT-00:00)
           To:     Michael, Bonnie <BMichael@ci.worthington.oh.us>;Myers, Scott
                   <SMyers@ci.worthington.oh.us>;Norstrom, David <dnorstrom@ci.worthington.oh.us>;Smith,
                   Doug <DSmith@ci.worthington.oh.us>;Dorothy, Rachael
                   <RDorothy@ci.worthington.oh.us>;Foust, Douglas <Doug.Foust@ci.worthington.oh.us>;Troper,
                   Michael <MTroper@ci.worthington.oh.us>
           Cc:     Stewart, Robyn <RStewart@ci.worthington.oh.us>;McCorkle, David
                   <DMcCorkle@ci.worthington.oh.us>;Brown, Anne <ABrown@ci.worthington.oh.us>;Brown, Lee
                   <LBrown@ci.worthington.oh.us>;Fox, Pam <PFox@ci.worthington.oh.us>
          Bcc:
          Subject: UMCH Update



          Dear Council Members:

          I want to share some information regarding the redevelopment of the UMCH
          property after having talked with David Fischer yesterday and today.

          UMCH has decided it will NOT be planning, rezoning and developing the entire
          UMCH site right now. However, they will be proceeding with the following:

           - A proposed 30,000 square foot Ohio Health medical office facility on High
             Street. This facility may have a portion of it (10,000 square feet +1-) that will
             be a 24 hour emergency room.
           - The West Ohio Conference will acquire the current Conference Center from
             UMCH and implement plans to renovate the facility.

          We will also be working with them on opportunities for other office users.

          This decision came after they made some outreach to community stakeholders and
          found that there was a lack of support for a revised development strategy that
          included a reduced number of apartments (250), more emphasis on empty nester
          housing, no Evening Street curb cut and a community meeting facility. My sense
          is that they have an opportunity to monetize a portion of the land asset for their
          not-for-profit purposes and feel a need to go ahead and do that given the
          uncertainty of community support regarding the remainder of the site and, in
          particular, apartments.

          The High Street frontage is largely zoned for commercial office and we will begin
          working with Lifestyle Communities, UMCH and Ohio Health on the site planning
          and other aspects of this development. While piece meal development of such a

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12718




          large site is not ideal, we are confident that we can ensure that it is done consistent
          with the Comprehensive Plan and with an eye towards how it can develop
          cohesively over time.

          The UMCH site is critically important to the community. It is a positive step that a
          portion of this project is moving forward and that we have the opportunity to
          enhance access to medical services and bring additional jobs into Worthington. In
          the next few days, Anne Brown will work with UMCH and Lifestyle Communities
          to put together appropriate public information for the website. This information
          will also be distributed by Lee Brown to the MPC/ARB. Please let me know if you
          have any questions. --Matt


          Matt Greeson
          City Manager
          City of Worthington
          6550 N. High Street
          Worthington, OH 43085
          614-436-0368 (Direct)
          614-436-3100 (Main Office)
          614-786-7355 (Fax)
          mgreeson@ci.worthington.oh.us




                     Information from ESET Endpoint Antivirus, version of virus signature database
          13360 (20160419)

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          http://www.eset.com
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 Message


From:        Greeson, Matt [/O=COW-EXCHANGE/OU=EXCHANGE ADMINISTRATIVE GROUP
             (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=MGREESON]
Sent:        2/28/2018 5:19:26 PM
To:          Kowalczyk, Beth [BKowalczyk@ci.worthington.oh.us]
Subject:     Fo'How Up
Attachments: ward owa project principles 6-29-15.pdf; ward statement 9-23-15.pdf; discussion - fiscal and land use impact slides
             10-16.pdf; draft framework document - Draft 10-14-16.pdf



Beth:

Per our conversation this morning, here are some UMCH related documents that you may find helpful. I apologize for
getting it to you late in the day. We have a ton of info from years of UMCH related debate. But, a few things that
maybe helpful are:

a)     An early WARD OWA project principle document. A short and quick read.
b)     A position statement that they made in 2015, asking for a variety of information.
c)     A presentation I made on how fiscal impact analyses work in 2016.
d)     The Draft Framework document that I talked to you about. This was intended to be a launching point for
consensus building conversations, but really didn't get traction.

On the issue of the fund balance, here is some information for digestion:

Acknowledge that you are very much studying the budgetary policies and practices of the City and have been digesting
many of our financial documents and have looked at the Carryover Fund Balance Policy

It is required to be reviewed in 2019, but staff wants to do that this year because of the questions that have been asked
and because we want to do it in advance of some large debt issuances that are planned for projects in the CIP

Our goal is to maintain our AAA bond rating so that we can ensure low interested rates on long term debt, therefore,
saving resources.

The review will look at government finance best practices, cash flow considerations, what other communities are doing,
etc. While our fund balance looks big, we tend to have a little lower fund balance by percentage than some of our
municipal peers.

We have a number of considerations like how to provide funding to the pool; dealing with some impending job loss,
waterlines and sewers, bike and ped, energy efficiency and park investments that all need to be balanced. Our options
are to do nothing given a variety of uncertainties, increase the general fund balance percentage in the policy, or decide
that when the fund balance reaches a certain percentage, dollars become available for one-time projects.

If we use one time money for projects (which is a big question), the inevitable question is which strategic priority would
we spend it on? Do we spend it on capital projects, reducing debt or buying parkland, etc. This is where we need to be
clear on our strategic priorities and tie those to our fiscal policy. Because of our over-reliance on income taxes, I tend
toward a rigorous analysis and cautious use of any one-time dollars, if any at all.

These are some thoughts on the Fund Balance which is the question you raise. As far as strategies for ensuring green
space, there is a simple overview of 3 approaches to this in the attached Draft Framework document. I would be glad to
go over those in detail with you at a future date. I hope all this helps. —Matt

Matt Gives=
City Manager
                                                                               EXHIBIT

                                                                        Da            e                        Worthington 058435
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              Information from ESET Endpoint Security, version of detection engine 16981 (20180228)


The message was checked by ESET Endpoint Security.

http://www.eset.com




                                                                                            Worthington 058436
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     Mr. Matt Greeson                                                June 30, 2015
     City Manager
     City of Worthington
     6550 North High Street
     Worthington, Ohio 43085

     Dear Matt,

     Enclosed is a joint statement by the Old Worthington Association and Worthington Alliance
     for Responsible Development (WARD) regarding the development of the United Methodist
     Children's Home property (UCMH).

     We are asking you to review these principles and use them to respond to any UCMH
     development proposals, including the one being put forward by Lifestyle Communities.
     Additionally, we are asking you to schedule a meeting with us as soon as possible to talk
     about these and related issues.

     Thank you for your consideration.

                                         Sincerely,

                                                               9               4Th
     Margaret eal                                             Pamela S. Fair
     Ohio Worthington Association                             Worthington Alliance
                                                              for Responsible Development




                                                                                         Worthington 058437
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                                 OWA and WARD UMCH Project Principles
                                           June 29, 2015

     The Old Worthington Association (OWA) and Worthington Alliance for Responsible Development
     (WARD) issued the following joint statement in May 2014. These community organizations are
     reissuing the statement, without changing the five principles, because we share a deep concern that
     the current Lifestyle Communities proposal to develop the United Methodist Children's Home
     (UMCH) property as a mixed use development does not align with the principles outlined in this
     statement. For example, there is no public/private partnership and placing 571 residential units on
     the property does not comport with our concern about density. With this misalignment in mind, we
     encourage City of Worthington officials to use these principles to respond to any UCMH
     development proposal.

        1. Well Planned: Meets or exceeds current best practice standards for mixed-use property
           development

        2. Project includes a significant, financially workable public/private partnership that involves
           meaningful citizen participation and results in a project that exceeds in overall quality what
           the market place would likely produce without such a public/private partnership. The
           project will meet or exceed all relevant local government development standards and
           include more community green space (exclusive of Tucker Creek Ravine) than would
           normally be provided. This, in turn, will encourage high quality construction that will be
           architecturally pleasing and congruent with local architectural themes and traditions.
           Additionally, any publicly owned park space, active and/or undeveloped, would be designed
           to meet the needs of both park users and neighbors (residential, business and retail).

        3. A project that is well balanced. It will include quality residential homes and condos that do
           not exceed two stories; class A office space and retail, including one or more restaurants;
           and it will be a project that is well constructed, aesthetically pleasing and one that ages well.
           Efforts will be made in planning the design of the development to limit potential friction
           among these business, residential and retail users and between them and adjacent
           (existing) developed space (houses, etc.).

        4. A quality project that achieves appropriate levels of density and therefore limits the number
           of housing and office units to what can be developed on the site without creating
           unworkable traffic congestion problems. This approach will give special attention to
           neighborhood connectivity issues and to limiting potential friction between and among
           neighbors.

        5. A project that includes office and retail buildings that complement downtown Worthington
           and provide the option of approved sidewalk seating as appropriate to support business
           activities. To the greatest extent possible, any new development will maintain existing tree
           lines and berming. The Tucker Creek easement will be protected with significant
           boundaries between existing and proposed development.



           Margarecl al                                     Pamela S. Fair
           Old Worthington Association                      Worthington Alliance
                                                            for Responsible Development




                                                                                                   Worthington 058438
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       OWA/WARD Joint Questions and Comments on UMCH development

                                  August 13, 2015

          1. The city should create (in writing) a UCMH project deve.lopment
             principles/goals statement that guides negotiations and related
             policy positions. This statement should be reflective of and
             responsive to public questions and concerns about the project as
             proposed by Lifestyle Communities.

          2. The city should hire a professional negotiator
             • The purpose of this request is to have an'independent
               professional negotiator work on behalf of City Staff,. Council,
               and the residents. The negotiator should be from outside the
               City and without a vested interest.
                   o The person would be hired to focus on the best deal for
                      the city and community.
                   o Negotiator may be able to determine what other
                      potential developers have contacted UMCH.
                   o The negotiator would free up city staff time for other
                      activities
                   o We request a selection committee be formed to help
                      select the negotiator. The committee would include one
                      member from WARD, one membef from OWA, and one
                      "at-large" citizen.

          3. The City is requested to provide 3 options how a PPP could be
             implemented, such as:
             • What are the scenarios for the City to buy some of the
               property?
             • What would be the purchase value and how would the cost be
               passed on?
             • What is the City's bond capacity for such a purchase?
             • What are the terms of a bond issue? For example: could this be
               constructed in a similar manner to the Worthington pool
               project?




                                                                            Worthington 058439
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          4. Request from the City the data that supports the need for
             apartments in downtown Worthington and for data that supports
             the need for senior citizen housing .
          5. OWA/WARD is requesting a written response from the City to
             these questions, requests and comments.


             Additional Comments:
             What is the status of the various studies: traffic, water/sewer that
             the public was told are in progress? When will results be shared
             publicly?




                                                                              Worthington 058440
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     Draft for Discussion Purposes Only — Draft Version Issued 10/14/2016

     A Framework for Moving Forward (working title)

     Introduction

     This document provides a list of common objectives for the UMCH property and preliminary or evolving
     thinking on how the community might move forward on this challenging issue. It explores options
     (tactics, alternatives or approaches) for pursuing each common objective. It is in draft form, is likely
     incomplete, but seeks to frame issues for the purpose of informing constructive dialogue.

     Background

     The issue of the larger redevelopment of UMCH has been at a standstill since last year with no or little
     action. Private discussions between residents and the developer did not yield forward action. No recent
     conversations have occurred between the developer and the City about comprehensive site
    development.

    It is our understanding that Lifestyle Communities still has a contractual relationship with UMCH.
    Beneficial medical office has been proposed and will absorb a portion of the land. UMCH/Lifestyle is
    interested in, and the City encourages, additional office development on the site. These steps represent
    incremental development that while maybe good by themselves, have the potential - if not done right -
    to be detrimental to the overall site.

    Citizens want to know what is happening. Resident organizations want to achieve green or park space
    and, in the absence of larger development conversations, may want the City to pursue acquisition.
    While the goal for some park space is shared, the desire to pursue it separately from an understanding
    of the larger site is not. It is unknown whether Lifestyle would even be interested in allowing the City to
    acquire a portion of the site and presumably would want to know how much land would be sought and
    what it can legally do with the remaining land.

    The above is a description of a challenging inertia created by uncertainty. There is a necessity to create a
    framework for moving a potential project forward in a mutually beneficial manner. This document
    serves as a starting point for this. It borrows from OWA and WARD's idea about a principles statement,
    but also discusses how such principles (called objectives here) might be approached.

    Objectives

    A review of City, OWA and WARD documents reveals a number of broad, common objectives (no
    priority order):

        •   High-quality, mix of uses
        •   Expansion of the City's tax base - particularly with office and payroll tax
        •   Green and communal park space
        •   Preservation and enhancement of Tucker Creek


                                                         1




                                                                                                       Worthington 058457
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         •   New housing options
         •   Compatibility with the existing neighborhood
         •   Financial goals of UMCH
         •   Walkable, vibrant and connected
         •   Manageable traffic and other impacts
         •   Public Private Partnership


     Paths towards Achievement of Objectives

     In many ways, each of the objectives above are interconnected, resulting in the need to strike a balance
     among them. Better understanding of each objective may help illuminate the relative priority of each
     objective and the best approach to advance positive development. These pathways are explored below.

        •    High quality, mix of uses:


             There are a number of concepts related to the mix of uses:


                 a. This has been explored as limited retail (neighborhood style), office, and a mix of
                    residential property types.
                 b. Mixed use is desirable over the current zoning (institutional, commercial).
                 c. The City's historical strategy has been to limit retail outside of Old Worthington and the
                    mall area to help protect and preserve these two parts of Worthington. This means not
                    "stripping out" High Street.
                 d. There is a desire for high quality architecture that adheres to Worthington's Design
                    Guidelines and builds upon the community's distinctive character.
                 e. There is an opportunity to create another special area of Worthington that provides a
                    sense of place both on High Street and within the development.


             These overall objectives can best be accomplished through re-zoning to a Planned Unit
             Development (PUD), rather than incremental "straight" zoning projects, subdivisions and
             variances. One or two development phases will provide for more certainty and a more
             comprehensive approach to balancing all of the objectives. It also can result in a more impactful
             mix of uses than may occur piecemeal. PUD zoning can result in an agreement with the
             developer to include higher standards in some areas that straight zoning provides. Given the
             extensive text that is approved with PUD zoning describing the requirements for the zoning, it
             offers stronger long term protections that the development will stay true to the original
             proposal and approved standards than the current zoning.


             The change to PUD should start with a proposal, at least a conceptual one, from the developer.
             In order to get to approved PUD zoning for a large portion of the site, there would be an
             extensive expenditure of funds by the developer to produce detailed information on the site,
             traffic studies, engineering evaluations, surveys and architectural renderings.


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            There would be back and forth negotiations with the developer to evolve the plan for the site
            into an acceptable one. It is important to have a clear negotiating strategy when approaching
            this process. The objectives and concepts included in this document can provide a framework
            for the negotiations with the developer.

            There is an established process when an application is received, however there can be extensive
            conversations and discussion prior to the submittal of an application (as has been seen already
            with this site). An important question focuses on the type of pre-application discussion that
            leads to the submittal of an application that can eventually receive consensus or support. There
            is no script for such a process, but it could include the following: traditional staff-developer
            negotiations, a series of developer led public meetings reacting to variations of proposals, or
            some other process that includes facilitation and/or mediation as a tool for consensus building.

            There have been numerous references to public private partnerships (PPP) related to this site.
            Public private partnership negotiations for incentives, financing and infrastructure can be
            incorporated into these pre-application discussions. PPP is explored more fully later in this
            document.

        •   Expansion of the City's tax base

            This site poses a significant opportunity to create needed commercial growth, particularly on
            High Street. Office development is particularly important since 73 percent of the City's revenue
            is from income taxes, mostly generated from employee payroll. Because the City has limited
            developable area, this is a high priority for the City. However, there are other community
            objectives, such as housing diversity and green space that must be weighed against the pressing
            need for revenue. Additionally, current trends emphasize the desire of modern businesses and
            workers to locate in mixed use environments instead of disconnected office parks.

            One medical office building is currently moving through the approval process. It includes
            surface parking, with typical building heights and no tenant mix. It is unclear whether the
            developer and property owners are interested in continuing to develop the High Street frontage
            in a piecemeal fashion beyond the OhioHealth building. Any mix of uses, such as office or
            residential over retail (i.e. restaurant) would likely require rezoning.

            City staff is aware of office users interested in Class A office space in a mixed use environment
            similar to what was previously proposed and think it is possible, based on demand, to fill 15,000
            to 75,000 square feet of space. There are also restaurant users that would be interested in the
            area.

            There are several possible paths forward:

                    a. Incremental site development using subdivisions, variances, development plan
                        approval and architectural review,
                    b. PUD for High Street Mixed Use area, or


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                     c.   PUD for whole site, including High Street Mixed Use area



        •   Green and Communal Space

            There are multiple ways to pursue green space as part of a development. Options already
            identified include:

                a. Negotiate land set aside as part of development — Depending on the desired location
                   and amount of green space, it is possible to use TIF, incentives or some other city
                     revenues that would have to be identified (there aren't many available at this time) to
                     add to required set asides. The City has anticipated taking this approach to achieving
                     park space. Benefits include negotiating the green space as part of an overall, well-
                     planned development and financially partnering with the developer to achieve a more
                     impactful or larger park space.


                b. Pursue fee simple acquisition of the land —This presumes that Lifestyle and UMCH
                   would be willing sellers. This would require appraisals, analysis of site development
                   costs, funding for acquisition, development and operations. A benefit to this approach
                     is it brings clarity to this issue by eliminating the question of whether a park can be
                     achieved. The downside is that this is financially costly; some of this acquisition and
                     expense could be achieved through development negotiations at less cost to taxpayers.
                     Limited cash flow in the City's CIP (capital plan) makes it difficult to pursue this option,
                     possibly necessitating additional revenues through fees or taxes.


                c.   Use bridge financing for public acquisitions — This option allows public owners to put
                     land under contract or have a third party do it, in anticipation of receiving grants or
                     passing tax levies. These programs would have to be explored in more detail to
                     ascertain their usefulness in this instance. The likelihood of the grant revenue and/or
                     additional tax levies is critical to the pursuit of this option.

            Each of the options above requires significant analysis, including appraisals of land, etc. Should
            the community desire to pursue an approach that involves additional taxation, significant
            planning, public input and dialogue will be needed.

       •    Preserve and Enhance Tucker Creek area


            In the case of whole site development, requiring the Tucker Creek area to be set aside is feasible
            and desirable. In fact, this was previously proposed by Lifestyle. Existing stormwater easements
            create encumbrances to development of this area. The City does not have stream setback
            requirements in its codified ordinances, as can be seen by the development on adjacent



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            Greenbriar Court. However, assuming some rezoning will be requested for this and other areas,
            preservation is achievable.

        •   New Housing Options

            Housing options can come in a variety of structural forms: multi floor buildings, duplexes,
            townhouses or brownstone styles, single floor patio homes, etc. Anecdotal feedback and City
            plans suggest that empty nester housing (with single floor living options) is highly desirable in
            Worthington. The City's zoning does not regulate form of ownership (rental vs. owner
            occupied), just units per acre. Numbers of units, sizes of buildings and many aspects of these
            units can be controlled through the rezoning process and the PUD regulations. The issue of
            number and type of units appears to be the most controversial.

            There are a few options to try to achieve agreement on this topic:

                    a. Continued discussion —The developer could submit a modified proposal for formal
                       or informal review and public discussion.


                    b. Market studies - which are typically paid for or provided by developers - could be
                         commissioned to inform debate about how many and what kind of units are
                         demanded or, if the analysis is crafted properly, needed in the community.


                    c.   Development tours - The development landscape in Central Ohio continues to
                         change, providing different examples. Tours could be conducted by the City to
                         target empty nester housing or other products. We could also organize visits to
                         other regions if development examples are identified.


                    d. Residential scenario model - Models could be built evaluating the various impacts
                       (tax revenue, school children, etc.) of different mixes of residential.



       •    Compatibility with existing neighborhood

            Considerations for this objective include:

                         a. Ensuring buffering either with vegetation or similar single family uses

                         b. Effective tree management and preservation strategies

                         c.   Traffic studies and traffic management

                         d. High quality architectural standards

                         e. Gateway improvements into area

                         f.   Bike and Pedestrian connections

                                                         5




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                         g.   Modern stormwater management practices

            City staff feels that many of these issues can be addressed through the development review
            process, particularly if it is a PUD, providing more clarity and certainty for adjacent
            neighborhoods.

        •   Walkable, vibrant and connected

            The City has placed a high emphasis on bicycle and pedestrian connections. This is a significant
            opportunity to better connect the existing neighborhood, provide access to amenities that may
            be developed and, likewise, connect new residents to assets like the Olentangy Trail. Sidewalks,
            trails, bike racks, and street parking should all be included. Plans should take into consideration
            the whole site. In the event that it develops incrementally, particular attention should be given
            to the High Street streetscape at each building.

            Sidewalks, streetscaping, streetlighting and other public improvements are part of any
            development and many can be required to meet standards consistent with the City's guidelines.
            They are also eligible public improvements for reimbursement by incentives like TIFs. As part of
            the negotiation, it is possible to pay for such public improvement in exchange for the developer
            helping defray the cost of other public objectives.

        •   Management of Traffic and Impacts

            Another issue of concern is connections into neighborhoods and traffic impacts in general. Any
            consideration for an outlet into existing neighborhoods will be heavily studied. The developer
            should be required to submit a traffic study for the proposed use or uses and allow for the
            methodology to be reviewed by the City's traffic engineering consultants and the City Engineer.
            Impacts to all adjacent roads will be evaluated as part of the development review process.
            Traffic is an inevitable outcome of development. It is important to consider the degree of the
            impact, the timing of the impact, and the measures that can be used to mitigate impact. No
            party believes that neighborhood connections are an absolute necessity. However, there may
            be practical downsides to loading all the traffic onto High Street and the traffic signal at Larrimer
            that should be evaluated. We are also a very connected community, with roads and pedestrian
            networks that connect neighborhoods. We should strive to ensure that any new neighborhood
            feels physically and socially connected to others. Likewise, new amenities in a new
            development should be accessible to existing neighborhoods.

       •    Public Private Partnerships

            There are a number of tools that can be used to achieve beneficial outcomes. They include:

                    a. Tax Increment Financing (TIF)
                    b. Tax Abatements
                    c.   Venture Grants (income tax incentive for new payroll growth)
                    d. New Community Authorities

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                   e. Other funding/financing programs such as economic development roadwork grants,
                      Property Assessed Clean Energy (PACE), collaboration with the Columbus-Franklin
                      County Finance Authority, etc.
                   f. Negotiations with the developer that allow the developer to benefit in certain areas
                       in exchange for things community benefits in other areas


           If we are open to exploring a variety of methodologies for defraying the costs of public
           improvements, particularly streetscaping, roads, water, sewer, stormwater infrastructure, fiber,
           traffic signals, and some park space and park amenities, we may be able achieve more of the
           objectives desired by the City and/or community (with a particular emphasis on: Class A office,
           High Street streetscape, architectural and design quality, park, green space, public plazas and
           trails). Willingness to explore these options that make a project more financially feasible can
           result in better outcomes for the community and the potential willingness by the developer to
           provide amenities desired by the community.




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Message

From:           Greeson, Matt [/O=COW-EXCHANGE/OU=EXCHANGE ADMINISTRATIVE GROUP
                (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=MGREESON]
Sent:           3/19/2018 1:13:47 PM
To:             Michael, Bonnie [BMichael@ci.worthington.oh.us]; Myers, Scott [SMyers@ci.worthington.oh.us]; Scott Myers
                [William.Myers2@ohioattorneygeneral.gov]
Subject:        FW: Retreat follow-up: UMCH info



I am going to contact each of you to discuss the email below. I have had a follow with Council Member Robinson
regarding it.

9r1att greeson
City Manager
City of Worthington
6550 N. High Street
Worthington, OH 43085
614-436-0368 (Direct)
614-436-310() (Main Office)
614-786-7355 (Fax)
mgreeson@ci.worthington.oh.us

From: David Robinson [mailto:davidwhitfieldrobinson@gmail.com]
Sent: Monday, March 19, 2018 10:39 AM
To: Greeson, Matt
Cc: Robinson, David
Subject: Fwd: Retreat follow-up: UMCH info

Good morning Matt,

As you'll recall, the February 9/10, 2018, Council/Staff retreat concluded with a discussion about UMCH. As an
outgrowth of the conversation, and at the concurrence of Council members, you agreed to provide rough
information related to impacts on city finances of a possible acquisition of property at UMCH. A week after the
retreat, not having received any of the requested information from you, I drafted and sent you an email (copied
below) in an effort to help you focus and simplify your fulfillment of this task.

It is now four weeks since I sent the earlier email, and Council has still not received a reply to you in any form,
much less the satisfaction of Council's instructions to you to generate and provide this basic information. I find
your lack of response on this pivotal, time-sensitive issue to be a serious matter, and I ask that you answer this
current request promptly with either the information requested, or a specific description of your timeline and
plans to do so.

I look forward to your reply.

Best Regards,

David

David Robinson
614-893-4573 - cell
195 E Dublin Granville Rd
Worthington, OH 43085

                                                                              EXHIBIT

                                                                                                            Worthington 057946
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         Forwarded message
From: Robinson, David <DRobinson@ci.worthington.oh.us>
Date: Mon, Feb 19, 2018 at 11:34 AM
Subject: Retreat follow-up: UMCH info
To: "Greeson, Matt" <MGreeson(&,ci.worthinwon.oh.us>
Cc: "Michael, Bonnie" <BMichael@ci.worthington.oh.us>, "Myers, Scott" <SMyersaci.worthington.oh.us>,
"Dorothy, Rachael" <RDorothvasi.worthington.oh.us>, "Foust, Douglas"
<Doug.Foust@ci.worthington.oh.us>, "Kowalczyk, Beth" <BKowalczykaci.worthington.oh.us>, "Smith,
Doug" <DSmitha,ci.worthing,ton.oh.us>, "Brown, Lee" <LBrown ci.worthington.oh.us>, "Bartter, Scott"
<SBartter@ci.worthington.oh.us>, "Hurley, Darren" <DHurlev@ci.worthington.oh.us>

Hello Matt,

Thank you for your candor, thoughtfulness, and focus at the recent Council/Staff retreat. I found the time
together to be very productive, both regarding specific issues and in furthering group understanding and
cohesion. This may sound over-the-top, but I wish we could hold such meetings every quarter or so if
circumstances warrant.

I wanted to follow-up on one specific item—the provisioning of information regarding different land-use
scenarios at UMCH. As you made clear, what you will generate will not be concrete, specific, validated, ready-
for-the-bank numbers, but will be in the nature of estimates and probabilities, all based on the best information
and most reasonable range of assumptions available to us today. Further, my understanding is that the scope of
your analysis will be limited to impacts on city finances, and will not attempt to address issues regarding
impacts on traffic, sustainability, quality of life, community appeal and identity, or business environment. These
issues I believe will be engaged robustly in the upcoming public CP review process.

My basic request is that you focus on gathering and presenting information that is geared toward Council's
actual decision-making processes, and that you and staff not be burdened with the task of trying to be
comprehensive in order to address a wide range of inquiry. The core questions I have are as follows:
•        What is the range of estimated net income tax revenue (over time), per acre, for different types of
commercial development (e.g., office, medical-service, retail, and "mixed-use"); please provide statement of
assumptions behind the estimates so that we can assess probabilities and alternatives.
•        What is the range of estimated costs (one-time, and continuing), per acre, for different types
of residential development (e.g., single-family, condos, and apartments; will the Dublin study help here?);
please provide statement of assumptions behind the estimates so that we can assess probabilities and
alternatives.
         What is the range of estimated costs (one-time, and continuing), per acre, for different types of public
greenspace acquisition/development (e.g., passive, recreational, etc.); please provide statement of assumptions
behind the estimates so that we can assess probabilities and alternatives.
In addition to providing raw numbers, I believe it would be helpful if you provided several scenarios in order to
illustrate overall impact of different land-use options using the income/expense numbers you will have
developed. If you do this, I would suggest that your scenarios remain simple and focused on enabling Council to
make clear, comparative assessments. In other words, the most useful analysis would keep constant certain
factors (those that enjoy, in general terms, basic agreement) while varying others (those that may be seen as
most contested, and are therefore at the heart of upcoming decisions). What would not be helpful would be the
presentation of several scenarios where many factors blur and mix among the different scenarios in such a way
that we are left with no basis for discerning the pros and cons of different options. Please keep things
differentiated, clear, and explicit.

Specifically, I believe that a central issue before us is the relative costs and benefits of residential vs. public
greenspace. As such, it would be most helpful if you could provide several scenarios that would keep constant
two assumed factors: a) the front ten acres will be developed commercial (or, if you prefer, the front 6.5 acres,



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which would be excluding the conference center's acreage); b) the seven along Tucker Creek will remain
undeveloped; while the third element would be variable: c) the back twenty six acres, presented with varying
proportions of residential and public greenspace. One scenario could be twenty six acres of residential, another
could be twenty six acres of greenspace, and a third could be thirteen each. I fully realize that these scenarios
are crude and simplistic, but they will give us a means of thinking based on numbers and not vague hunches or
biases.

Lastly, I want to acknowledge that the actual, final development of the property is likely to not fit neatly in to
the three categories of commercial, residential, and greenspace, and that the acreage allotted to each is fluid and
possibly overlapping. The possibility of "mixed-use development" e.g., apartments above commercial, is an
example of this. I understand this. But this fluidity makes it all the more important that City Council be
provided with clear numbers based on discrete land-use categories, and the explicit assumptions underlying
them, so that Council members can get a grasp on the essentials in our effort to make informed decisions in the
public interest.

Thank you again Matt. I of course welcome any discussion about this request for information, with you, staff
and/or other Council members. I look forward to working with all to bringing the UMCH issue to successful
resolution.

David

Sent from my iPad



             Information from ESET Endpoint Security, version of detection engine 17082 (20180319)


The message was checked by ESET Endpoint Security.

http://www.eset.coin




                                                                                                   Worthington 057948
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Message


From:        Greeson, Matt [/0=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
             (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=E02E0F169E0140A08552304F1CFBCF86-GREESON, MA]
Sent:        3/9/2020 1:45:29 PM
To:          Martin Jenkins [martinjenkins58@gmail.com]
Subject:     UMCH background staff
Attachments: Report 2 Proposed Processes (Draft 5).pdf; marlowe report 8-30-18.pdf; UMCH Comprehensive Plan Issue;
             Memorandum to City Council - 1-31-2020.pdf



Marty:


As requested, I am sending the reports that Dr. Herb Marlowe prepared in 2018/early 2019 regarding UMCH. In his
initial report, I asked him to interview a lot of stakeholders, assess the issue and make process recommendations. In the
r d attachment, he refined his process recommendations based on continued feedback. He left the documents as draft,
presumably to reserve the ability to modify them in content and approach as the community co-created a
process. Remember that multiple parties would have had to agree to some of the process to move forward. He
recommended two things — one a process to develop a community vision and two to appoint a group to fully evaluate
various UMCH scenarios. We chose to move forward with a community visioning process, but rejected at the retreat
the UMCH scenario modeling effort. I am just providing these as background, not because I want to revisit them per se.


I have also attached a memorandum I wrote earlier this year in response to questions posed by Council Member
Robinson about the status of the UMCH amendment to the Comprehensive Plan. It frames a series of options I believe
the Council has on this issue. I have attached a follow up email I wrote to Council on this subject, which includes
another email he wrote to me. I am very interested in determining which option the Council wishes to pursue and
answering the related question about staff's role in it. This is one of the key matters we need to discuss at the retreat.


I hope this is helpful and appreciate your time today. --Matt




MATT GREESON
CITY MANAGER
CITY OF WORTHINGTON
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Worthington, Ohio 43085
Office: 614-436-0368
www.wo 1:th inston.org




                                                                                                           Worthington 058301
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       Proposed Process Architecture for Community-wide Visioning Process
                                          for the City of Worthington, Ohio

                                                                              and


             Proposed Process Architecture for Development of Acquisitio9
          Scenarios for United Methodist Children's Home (UMCH) property



                                                                           Draft 5




                                                                    Submitted by:

                                                                         Analytica

                                                                January 18th, 2019




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     Organization of the Report

     This report is organized in seven (7) chapters. Each chapter is described below.

     Chapter 1: Proposed Community Vision Process Architecture. This chapter describes the
     proposed process in terms of its phases and deliverables and the process management issues
     that will need to be considered.

     Chapter 2: Vision Committee Charter. This chapter describes the purpose, role, assigned work
     tasks, expected deliverables, time frame and reporting expectations of the committee.

     Chapter 3: Proposed UMCH Scenario Working Group. This chapter describes the phases and
     deliverables as well as the process management issues that will need to be considered.

     Chapter 4: UMCH Scenario Working Group. This chapter describes the purpose, role, assigned
     work tasks, expected deliverables, time frame and reporting expectations of the working group.
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    Chapter 5: Decision Pathway. This chapter provides a sequential order of decisions the Council
    will need to make i it chooses to enact either of these processes.
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    Chapter 6: Interaction Points. This chapter describ#S points in the two processes of
    Community Visioning and.UMCH scvl rio development where information sharing would be of
    valuema,                                 &P.                V     PI

    Chapter 7: Council Guidance. This chapter provides a summary of points in each process where
    Council guidance or direction will be requested.




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     Visioning: Community-aligned policy leadership


     Leading a vision process for your city is an example of community-aligned policy leadership.
     This introduction discusses this concept.

     For leadership to be effective it must be aligned with the needs, aspirations and values of the
     community members. Otherwise, no one will follow. The key word is "aligned". What does it
     mean to be aligned?

     First, what does it not mean? To be aligned does not mean the elected official is an automaton,
     simply voting however the wind is blowing without their own judgement. Instead, aligned
     means to deeply understand the community's needs, aspirations and values and to act in ways
     that help fulfill those same needs, aspirations and values beyond a surface understanding.

    Using needs, as an example, an elected official who deeply understands a community's needs
    can do several things which more fully address those needs. He or she can connect dots —
    seeing how one specific need may be related to other needs or how addressing some seemingly
    unrelated need can address the need at hand. He or she can re-frarne needs, helping the
    community understand that some more fundamental issue needs to be addressed if the
    presenting need is to be truly addressed. He or.she can prioritize needs, understanding that if
    need.0 is to be addressed effectively, needs A and B must be addressed firse

    As an example, a common problem in man \, cities is the issue of opioid mis-use. Addiction,
    suicide, family disruption, crime are issues related to high rates of opioid mis-use. An elected
    official who understands these issues can connect high crime rates to high rates of opioid mis-
    use, laying the basis for a more effective crime reduction approach. An elected official who
    understands this problem can help frame multiple approaches to addressing it. This is
    important because a complex problem requires equally complex solutions. Jobs, health care
    interventions, public safety interventions, peer supports, educational programs are all elements
    of an effective prevention strategy.

    A visioning process is designed to help better define and understand the community's needs,
    aspirations and values.




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                                                 Chapter 1: Vision Process Architecture

     Intent and Final Product

     The intent is to engage the community broadly in a discussion of the future they would prefer
     for Worthington via a process that strongly engages residents and other stakeholders. This may
     include features of the City they want to keep and protect, new features they would like to see
     added, features they would like changed or eliminated, and the character and culture they
     want to have for the City.

    The final product will be a "Statement of Preferred Future" which will summarize the
    community's perspectives on the above topic and identify those perspectives where there is
    broad concurrence.

    Process Phases

                                      Phase 0: Project organization

          is phase consists of the following;
            Decision by Council to proceed with process
            Determination by.Council if a public participation percentage rate andard is desired
            Review and adoption of Vision Committee-Charter
            Appointment of Vision Com         e
           Instruction to convene
        • Committee Direction and Expectations — Discussion with Council
        • Committee Orientation as to process and timeline — City Manager

                            Phase 1: Community Listening & Understanding
                                                                                           Purpose

    One intent of this phase is to engage the community in a conversation about the future of
    Worthington from the perspective of what to keep, what to change, and the character and
    culture of the community. A second is to develop a knowledge base of how familiar are
    residents with very basic information about the city. This phase begins the process of
    understanding what the community would see as added value. In this phrase four questions
    are posed to the community via several methods. The responses to these questions will
    provide the basis for phase 2 and 3.




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                                            Four Visioning questions to have the community answer:

     What features of Worthington do you want the community to retain into the future?

     What feature would you like to see added or enriched? What, more of or less of, would add
     value to Worthington?

     What value would you like Worthington to be known for?

     What sentence or phrase would you want to describe Worthington ten (10) years from now?

                                                                                   Baseline questions

     Most of the City operations are funded by payroll tax while it only receives 4% of the property
     tax bill. How widely do residents understand that?

     50% of the city's operations budget is spent on police and fire services. Would you have
     expected a higher or lower percentage?

    The responses to these questions can inform Council the degree to which some public
    education effort is needed to help make the Vision process more productive.

                                                    Formats for obtaining answers to these questions
    There are variety of tools to obtain public perspective. These should be examined from a
    cost/benefit perspective and the level of participation that reaches the desired level of-validity

    Vision Committee individual interviews. Each member of the visioning committee will conduct
    5 to 7 interviews of residents or business owners. The only requirement is that a member
    interview a person they do not know or at least do not know well. The intent is to avoid
    interviewing persons with whom one is regularly in contact. A list of potential interviewees will
    be developed from recommendations from Council and the Visioning Committee. This list
    should include persons that historically do not engage with City government and/or that
    represent more vulnerable members of the community. The Vision Committee will then draw
    names out of a hat, replacing the name if it is a person they know well. The interview itself may
    be in person or over the phone with the focus being on the above four questions.

    Vision Committee Invitational Hearings. The Committee as a group will invite a cross-section of
    the community to address them in person and/or provide written responses to the four
    questions. While the interviews above are one-on-one, this is a person speaking to the full
    Committee. Each speaker will be allocated five minutes to respond to the four questions with
    time also allocated for follow-up questions by the Committee. Cross-section means all sections
    of the City are heard from, both residents and business owners are invited, representatives of
    organized groups in the City are heard from. Council members may submit names of persons to
    be invited and the Committee itself will generate an invitation list.


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     Vision Committee Public Hearings. In addition, the Committee will hold meetings open to all
     interested persons to enable any member of the public that wishes to address the four
     questions may do so. They will be requested to provide a written summary also and may
     choose to submit written responses in lieu of speaking.

     Open Town Forum/Neighborhood Forums. This will be an interactive forum in which
     participants will discuss their responses to the questions with other attendees. The participants
     will be furnished with a summary of the prior responses. If appropriate, participants may be
     asked to indicate their top three priorities among the various ideas which have been offered.

     Neighborhood based ddor-to-door interview groups. In this tool, the City would delineate a
     number of neighborhoods and seek neighborhood volunteers who would do door-to-door or
     phone surveys asking the four visioning questions. One alternative would be to engage high
     school students to do the door-to-door work.

     Web-based tools. There are a variety of web-based tools that can be used to drive public
     engagement. These should be researched. Examples are "Mind-mixer" "Community
     Remarks", "My Sidewalk", "Engagement HQ", "OpenGov", "Harvest"

                                                                                            Deliverable

     A summary report for each of the four questions tat also includes any prioritization
     information. A summary wort on the baseline questions.




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                             Phase 2: Environmental Scan and Trend Analysis

                                                                                               Purpose

     The intent of this phase is to describe various possible futures for Worthington in the context of
     demographic trends, economic trends, and regional developments. There are features which
     shape or influence the future of any community. The intent of this phase is to understand
     those trends that are particularly relevant to Worthington, how they may influence the future
     of the City and how the City can impact them for desired impacts or results.

                                                                                               Process

     Expert Perspectives. The Vision Committee will hear from speakers with expertise or
     knowledge on those trends which could influence Worthington and how Worthington can
     influence those trends. The speakers may be drawn from community members with such
     knowledge or persons external to the City. All meetings will be public and live-streamed or
     video recorded where feasible.

    Trend Analysis and possible Scenario Development Based on the0perspec         s   y have
    heard, the Committee will identify what they view as the key trends that could impact
    Worthington, the degree of influence the City could have on those trends, and how those
    trends could be impacted. The commission may summarize this analysis as a set of scenarios
    that are reasonably possible. Once this work is drafted in whatever format the Committee finds
    most useful, it will be made publically availAble for comment. Based on public comment,
    further modifications may occur.            gyf                  effp

                                                                                          Deliverable:

    Trend analysis and potentially (at the choice of the Committee) reasonably possible scenarios
    describing the future of Worthington. This analysis is based on phase 1 and phase 2 data. They
    should address a ten to fifteen- year time frame, although events occurring earlier than that
    should be included.


                                       Phase 3: Community Survey

                                                                                              Purpose

    The purpose of this phase is to refine and validate what the community views as their preferred
    future for Worthington in terms of features that would add value, their desires for the
    character and culture of the community, which trends/scenario would be preferred and the
    willingness to pay for any added features.




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                                                                                   Survey Development

     The survey will be designed based on responses to the four questions generated in phase 1 and
     the trends/scenarios generated in Phase 2. The purpose of the survey is to first determine the
     degree of concurrence on the various responses, second which responses are the highest
     priority and third which responses are of sufficient value for a financial investment (i.e. do we
     want it enough to pay for it?).

     The survey will be developed by the Visioning Committee and approved by Council prior to
     distribution.

                                                                                 Survey Administration


     Three surveys are proposed. One would be a scientific random sample survey designed to
     produce a statistically valid perspective of community preferences. The second would be an
     "interested party" survey which would be distributed to all persons who provided responses in
     phase 1. The third would be an open to all interested parties survey to which any resident or
     business owner could respond.                                          NO 6,

                      si                                                                    Deliverable

     The responses to each survey will be published and a comparison of results from the three
     surveys will be published.
                  alto-




                            Phase 4: Preferred Future Statement Development

                                                                                               Purpose

    This phase will prepare a statement describing the preferred future for Worthington based on
    the data from phases 1, 2 and 3 that show the highest levels of concurrence and the highest
    levels of priority. This statement, once adopted by the City Council, will form the basis for the
    City's strategic plan for the next five years. During the period, the intent of the statement will
    be translated into programs and projects which operationalize the intents of the statement.




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                                                                                 Development Process

     Step 1: Draft 1. Draft 1 will be developed by the Visioning Committee and then posted for
     comment by the public.

     Step 2: Public comment. During a two week period the public can make suggested edits to the
     Draft 1 statement. Respondents will be asked to provide their reasoning for the proposed
     change, citing where they can phase 1 or phase 2 data.

     Step 3: Draft 2. The Vision Committee will revise draft 1. based on step 2 comments.

     Step 4: (option for second round of public comment). Should the Vision Committee determine
     a second round of public input would be of value, they can conduct a second round resulting in
     Draft 3.

     Step 5: Town Hall Forum. This will be open to all interested parties. Its intent is to discuss
     draft 2 (or 3) from the perspective of understanding why the draft 2 (3) version was written as it
     was and how it is viewed by participants.

    Step 6: Final Vision Committee Statement. The Committee will develop its final statement
    using feedback from all above steps. In the event the Committee does not reach concurrence
    on all the document, members holding a minority view may develop an alternative statement.
    The document, along with any alternatives, will be forwarded to Council as the final work
    product of       ornmittee.

                                                Deliverable: Draft Statement of the Preferred Future


                                   Phase 5: Preferred Future Statement

                                                                                              Purpose

    Final public comment and Council Discussion/Adoption

                                                                                               Process

    Step 1: Public review. The Final Vision Committee Preferred Future Statement (along with any
    alternative statements) will be publically posted prior to Council discussion. Interested parties
    may submit alternative language.

    Step 2: Council discussion and adoption. The Council will discuss, edit and adopt the
    statement.




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     Process Management

    The process will be managed by a Vision Committee. This section describes purpose of the
    Committee, the appointment process and the various role members will be expected to fulfill.
    The specific tasks of the Committee are described in Chapter 3: Vision Committee Charter.
                                                                          Purpose of the Committee

    The committee has a dual purpose. Its administrative purpose is to manage the process and
    communicate status to the Council and community. Its product purpose is to discern and
    articulate the needs, values, and aspirations of the community with respect to the future of
    Worthington.


                                                                      Appointment Process Options

    The Committee itself will be appointed by City Council. Four options for the composition of the
    Committee are presented below. The Council should discuss and select from either one of four
    listed.options or combined them in some way for a fifth option.


    Option 1: Eight Member Vision Committee (w h identified alternates

           In this option, each Council member would appoint a member and an alternate. The
           Council would appoint the Chair. The role of the alternate is to attend whenever the
           regular member is unable to attend. They would also assume the regular appointment
           seat in the event a regular member must resign. Alternates of course may attend all
           meetings and would be encouraged to do so.

    Option 2: Fifteen (15) member Committee.

           In this option, Council members would each appoint one person. The Council as a body
           would appoint the Chair and seven other members to ensure the desired diversity of
           perspective including geography, age, gender, ethnicity or racial, "hard-to-reach"
           groups. There are no pre-appointed alternates. In the event a member resigns the
           relevant Council member or the Council as a whole would appoint a substitute.

    Option 3: Utilize the regular committee appointment process that the City uses for other
    committees.

    Option 4: Charge an existing committee with the project and/or augment an existing body to
    manage the project.




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                                                          Other Elements of the Appointment Process

     To the extent possible, the Council should include the following considerations in
     appointments:

          •    Geographic coverage of the city;
          •    Age, gender, ethnicity range representation;
          •    Residents who are active in various community groups;
          •    Inclusion of persons who work in the community;
          •    The various constituency groups of the community are represented;
          •    Inclusion of persons or perspectives that are infrequently heard;

                                                                         Application for membership

    Residents will be encouraged to apply for membership on the Committee. To apply the
    resident should provide his or her written response to the four questions as well as a resume or
    otirr background inform ion.


                                                                                               Roles

      h       le of Visigi   mmittee mem.be s wilt vary     jectiphase. These include:

    Phase 1: Community listening. In this p ge-, Committee mehiber§bre neutral listeners Their
    role here is to listen to the community and understand what they are saying, not to debate it or
    put forth their own view.

    Phase 2: Environmental Scan and Scenario Development. In this phase, Committee members
    are asked to be critical thinkers. They will be asked to examine various assumptions about the
    future to determine which could with reasonable probability occur. It is not the role of the
    Committee at this stage to express the future they want, rather to determine as objectively as
    possible what could occur from a probabilistic perspective.

    Phase 3: Survey. In this phase, Committee members are asked to be critical readers. The
    questions about the survey they should ask include:

          •   Is the survey itself clear and understandable?
          •   Can the respondent be fairly asked to respond? Is there some knowledge required in
              order to be able to answer the question?
          •   Are the questions neutral or is there some implicit bias?
          •   Does it cover all the relevant points?
          •   Do these survey help provide information about trade-off preferences?



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     Phase 4: Statement of the Preferred Future. In this phase, Committee members are asked to be
     both "Analyst" and "Advocate". Their role as analyst is to understand if there is broad
     concurrence among the community and what the nature of that concurrence is. Their role as
     advocate is to advocate for interests and positions they believe are in the best interest of the
     community.

     The ideal committee members would bring the following attributes:

        •   Ability to listen and balance various perspectives;
        •   Ability to critically evaluate assumptions;
        •   Ability to read and absorb survey and other data points;
        •   A willingness to openly state their interests while respecting the interests of others
            whether similar or different
        •   A willingness to seek solutions that represent the long term best interests of the City.

                                                                                  Process Time Frame

     Thecollowing are the apProximate time rames for the project. TFere can         overlap among
     phases.

     Phas6 1: Community listening —4 months
     Phase 2: Environmental Scan and Scenario Development — 3 months
     Phase 3: Survey — 2 months
     Phase 4: Statement of Preferred Future —   onths

    The following chart shows the time frames and phase overlaps.




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      Phase   Months
      1       x      x      x      x
      2                     x      x       x
      3                                    x      x
      4                                                  x       x      x




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                                                      Chapter 2: Charter Vision Committee

                                                    Charter

     Purposes

        1. Provide overall management of the vision process through its stages
        2. Identify and coordinate with existing city bodies who can add value to the process
        3. Provide guidance and advice for the community visioning process regarding community
           engagement, data gathering and data interpretation.
        4. Through adopted processes hear from the community their needs, aspirations, and
           values that they would like to characterize the community in the future
        5. Develop and conduct a community survey to validate a community-wide perspective on
           these needs, aspirations and values;
        6. Develop a draft vision/positioning statement for community reaction and Commission
           adoption



     Role of the chair

             Chair the visioning meetings
             Develop agendas with staff support
             Manage those agendas to ensure full discussion of all viewpoints
             Manage the meetings to ensure productive use of time, maintaining focus on
             agenda topic and promoting civil conversation and discussion
        5.   Actively seek to develop committee consensus where possible
        6.   Review meeting minutes (taken by staff) to ensure accuracy
        7.   Manage public comment when scheduled
        8.   Periodically brief the Council on status and emerging trends or issues
        9.   Periodically brief the Scenario Working Group on any topics relevant to their work




    Other membership and operational requirements

             1. Commitment to role as an active listener in phase 1 of the vision process with an
                understanding that their role is not one of an advocate at that stage.
             2. Commitment to actively participate during the life of the Committee
             3. All meetings will be publically noticed and held in a facility that will enable public
                observation




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     Time Frame and Schedule

              It is desired that the Visioning Committee complete its work within nine months to a
              year. Should this time frame be unreasonable, the Committee shall propose to Council
              a time frame it can commit to.

     Work Tasks and Suggested Schedule

     The Committee should refer to chapter 1: Process Architecture for a more detailed description.

     Phase 1: Community Listening — Four Questions (4 months)

          •   Conduct random individual interviews (as described in Vision Process Architecture
              document)
          •   Conduct public hearings (as described in Vision Process Architecture document)
              Hold at least one open town forum (as described in Vision Process Architecture
              documen9                                                          11
     Ph       : Environmehtal Scan and Trend Analysis (3 months)

              Obtain expert perspective on demographic, economic and regional trends that could
              impact the future of the City. Examples of sources could include The Ohio State
              University, The mid:phi° Regicoaal WA:ming Commigion, q.lber professional entities
              Analysis of trends

     Phase 3: Survey (2 months)

          •   Develop for Council approval a survey to determine public interest and perspective on
              key topics that have arisen in Phases 1 or 2
          •   Arrange for administration of the survey
          •   Review and interpret the survey findings (with technical assistance as needed)

    Phase 4: The Preferred Future Statement (4 months)

          •   Development of draft statement for public comment
          •   Iterative revisions of statement until basic concurrence has developed within the
              Committee
          •   Submittal of draft statement to Council




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     Role of Committee Members

            Committee members will assume differing roles by project phase. Please refer to
            Chapter 1 for a discussion.



     Products and Deliverables

     Phase 1: Community listening — Four Questions

        •   A written summary of common themes and key points from the various methods used
            to obtain answers to the Four Questions listed in Chapter 1.

     Phase 2: Environmental Scan and Trend Analysis

        •   A report on the key trends that could impact Worthington and how those trends could
            be impacted. This may be expressed as scenarios should the Committee so choose.




            Draft survey for Council approval
            Survey administration
            Survey es Its with:draft inkr4tretation

    Phase 3: Statement of the Future

        Draft statement describing:
        • How the City wishes to position itself within the region, i.e. what will it be known for?
        • Summary of needs to be address
        • Summary of aspirations
        • Summary of values
        • Summary of common interests
        • Preferred direction
        • Trade-off discussion

    Reporting Expectations

        1. The chair is expected to report to the Council at a minimum of once monthly.
        2. All work products are draft documents until accepted and adopted by Council
        3. Where there is unanimity on the Committee regarding a conclusion that carries with it a
           recommendation, such a recommendation may be made and will be understood as fully
           supported by the Committee. Where there is not unanimity, options or alternative



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           perspectives should be provided. The relative strength of these options may be
           indicated if the Committee so chooses.

     Life-cycle

        1. The committee will terminate upon making its final report (Statement of the Future) to
           City Council.




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                        Chapter 3: UMCH Acquisition Scenario Process Architecture

     Intent and Purpose

               The purpose of this process is to determine if and how the City could secure the United
               Methodist Children's Home (UMCH) property, in part or whole, for beneficial uses for
               the City. The mission of the Working Group doing this determination is to determine the
               viability of any options it develops.

     Process Phases

     There are seven phases to this process. Each is described below

     Phase 0: Project Initiation

              ¶his phase seeks gdeta`i-miNe if there is a willing seller for the     preperty. If ther
              is, then Council may decide to move forward with the project. If not, the Council will
              need to make a go/no-go decision.

     Ph       1: Project Organizati

          This _gg.kt.- sets the p    ct in mo   ,Ltconsists of the   lowing actions by the Council:

          •   Editing and adoption of the Scenario Working Group Charter (as found in Chapter 4)
          •   Appointment of the Scenario Working Group (as found in Chapter 4)
          •   Authorization of expenditures for technical support or delineation of procedures for
              obtaining technical support

    Phase 2: Proposals by the public

              In this phase, the public can submit their concepts for the use of the property. The
              Working Group will then review those, identify overlaps and narrow, if needed, to a
              reasonable number of distinctive concepts for the property that have potential viability.

    Phase 3: Technical Analysis and Scenario Development

              In this phase, the Working Group is charged with developing at least two scenarios
              regarding acquisition of the UMCH property. These scenarios are described in Chapter
              4. Additional scenarios may be developed at the judgment of the Working Group. This
              task begins with a review of the selected concepts from the public and reviews them to
              determine viability or how they might be modified or integrated to increase the viability


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            of the concept. The end-product of this task would be one or more scenarios that the
            Working Group determines is viable

            As described in Chapter 4, this phase will be public and there should be an opportunity
            for public input as the scenarios are developed.

            Deliverable: A minimum of two scenarios for public comment if two have been found
            to be feasible. If there is only one feasible scenario, it will be so posted.

     Phase 4: Comparative analysis of the scenarios

            In this phase, the Working Group will develop a comparative analysis of the various
            scenarios using as an analytical guide factors listed in appendix A. In addition to
            comparing developed scenarios the comparison will include selected historical
            proposals for other uses so that the residents can compare the fullest range of options.

     Phase 5: Public perspectives on any feasible scenarios and potential revisions

            IA his phase, the Wor5ig Group will publish for public comment
                                                                     ment   scnios. After
            obtaining public comment through whatever means it deems most feasible, revised
            scenarios may be developed..

            Deliverable: A minimum of two scenarios if two have been found to be feasible. if there
            is only or3e feasible scenario ill be so presented.

     Phase 6: Community Survey or public referendum

            If the survey mechanism is selected, two surveys are proposed. One would be a
            scientific random sample survey designed to produce a statistically valid perspective of
            community preferences with respect to the various UMCH scenarios. The second would
            be an open to all interested parties survey to which any resident or business owner
            could respond.

            The Working Group would develop the survey in draft for Council approval. Once
            approved it would be administered and the data summarized. It would be the
            responsibility of the Working Group to develop interpretations of the data and report
            such to Council along with the survey results.

            The other option is to hold a public referendum contrasting two scenarios.




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       Deliverables:

       •   Draft survey for Council approval
       •   Survey results
       •   Survey interpretation


    Phase 7: Policy Decision

           Phase 5 is a policy decision by Council. This could take the following forms:

       •   Council decision to pursue a specific scenario
       •   Council decision to schedule an Advisory Vote regarding public preference among two of
           the scenarios
       •   Council decision to accept both scenarios (assuming there are two) and decide based on
           private marketplace response
       •   Council decision to initiate action on one scenario to test private marketplace response
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                              Chapter 4: Charter — UMCH Scenario Working Group


     Purposes

        1. Provide technical advice and quality control to ensure that at least two scenarios (as
           described below) involving public purchase or public-private purchase of the UMCH
           property are developed for public consideration and feedback and presentation to the
           Commission.
        2. The scenarios may be developed concurrently or sequentially based on policy direction.
        3. Develop additional scenarios (as described below) as needed in their judgement to
           provide the community with feasible options.
        4. Ensure all scenarios are thorough, accurate and represent standard and acceptable
           business case analyses in which the residents can have confidence.
        5. Monitor the analyses and presentation of all scenarios are of similar quality.

                             f .4* t
     Note: If the UMCH proce s e ect e and of value, then a similar process caul       eused to
     address other Signature Properties with the following tasks:

            Identify other potential signature properties in the City. Signatate bperties ofeither of
            larger size to add substantive capacity or services or are located as to be particularly
            impactful to the City.
            Identify future community nee: fornousing, comrliVrcialVace, education, regiation
            or other public needs that the City should be proactive in addressing.



    Example Membership

    Membership would be residents unless a needed skill set could not be found within the
    community. In that case, the Working Group could engage a technical consultant to provide
    that perspective to the Working Group. The role of the consultant in such a case would be
    solely to provide technical perspective.

        •   Banking and finance
        •   Business recruitment
        •   Commercial and residential real estate
        •   Construction
        •   Traffic and transportation
        •   Urban planning
        •   General resident




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     Appointment Process

       1. Nomination process
             a. Self-nomination, nomination by others, nomination by Council members
       2. Council selection and appointment

     Role of the chair

        1.   Chair the work group meetings
        2.   Develop agendas with staff support
        3.   Manage those agendas to ensure full discussion of all viewpoints
        4.   Manage the meetings to ensure productive use of time, maintaining focus on the
             agenda topic and promoting civil conversation and discussion
       5.    Actively seek to develop work group consensus if needed
       6.    Review meeting minutes (taken by staff) to ensure accuracy
       7.    Manage public comment when scheduled
       8.    Periodically brief the Commission on status and emerging trends or issues
       O.    Periodically brief the Visioning Committee on any topics relevan     ie   rk

     Other requirements

                No member may have any direct or im = crate financi stake in the purchase: or
                development of the UMHC site.
                Commitment to actively participate during the liMof t Work Group.
             3. Complete a conflict of interest form and modify if needed during the process.
             4. All meetings will be publically noticed and held in a facility that will enable public
                observation.
             5. Opportunities for public comment on work group products will be regularly
                available.

    Scenarios to be developed

    Factors for Consideration in all scenarios

    All proposed scenarios should address the following factors:

       •     Financial impact and ROI on the City including financial benefits and costs;
                 o The ROI should include all City costs including acquisition, development,
                    operations and maintenance and any other factors related to financial
                    sustainability.
                 o Is a scenario possible where there is no additional financial cost to the City? In
                    essence the complete transaction would cover all the City's costs.



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        •   Impact on school attendance zones and traffic and transportation;
        •   Additional cost per resident if any.
        •   Density rates
        •   Green space percentage
        •   Single floor housing data (if appropriate)
        •           # of units
        •           square footage of units
        •           Cost estimate per square foot
        •   Job potential
        •   Traffic
        •   School impact
        •   Property tax impact
        •   Environmental impacts
        •           Land
        •           Stormwater
        •   Compatibility with neighborhood
        •   Walkable
            Overall quality




                       Seenaral: Pubtic-qead Acquisition with Private POrtnership

    Int6rit: die iN'tent of this scenario isifdetermine ways andfileans by which the City could
    acquire all of the UMCH property. The City would then partner with the private sector to
    develop portions of the property. The key to this scenario is that the City drives this option and
    maintains a high level of control.

    Conditions. The Working Group should develop a scenario through which the entire UMCH
    property could be acquired under the following scenario-specific conditions:

       1. Open space land is maximized to the extent feasible. This may include development of
          park amenities on some, or all of, the current S-1 zoned land;
       2. City causes development of the commercially-zoned High Street frontage with the intent
          to attract high-wage jobs;
       3. The City may consider leasing or selling any portion of the property to financially
          support this scenario;
       4. Consideration should be given to the availability of any external funding sources that
          would assist the City in acquisition and development and what conditions might come
          with that funding;
       5. If it is determined that acquisition cannot occur without additional City investment, the
          amount of that investment should be determined and the method of paying for that
          investment publicly stated; and


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       6. Based upon feedback from the Visioning Committee, the Working Group will develop
          one or more scenarios for the use of the land including public use facilities. As an
          example, this might include bathrooms, parking areas and walking trails. Costs for
          features should be determined as well as a method for paying for those features. If
          multiple scenarios are developed, they should be labeled 1A, 1B, etc.

                 Alternative: - Scenario 2: Private-lead Acquisition with Public Partnership

    Intent: The intent of this scenario is to determine ways and means by which the City could
    partner with the private sector to acquire a portion of the UMCH property. The City would work
    with the property owner to lease or buy some, or all of, the current S-1 zoned land. The key to
    this scenario is that the private partner drives this option and will push for his/her vision for the
    property. While the private partner would maintain a high level of control, they would also do
    most of the work and take most of the risk. One scenario should determine ways and means by
    which the UMCH site could develop in a manner that is consistent with the 2014 Worthington
    Comprehensive Plan Update. This could include one or more scenarios should the Work Group
    so choose. The Work Group may also develop scenarios with other approaches than the Plan
    update should they deem such scenarios feasible.

    Conditions. Property acquisition and development can be done by City, private developer, or
    any combination of the two working in a collaborative manner. The Working Group should
    develop a scenario through which a portion of the UMCH property could be           under the
    following scenario-,specific.conditions:

             A significant portion of the nciWtorWrviercially-zoned4ind    -ased or purchaseny the
             City from a private developer;
        2.   The City will develop park amenities on the acquired land;
        3.   One scenario should examine a development approach in which site development is
             consistent with the Comprehensive Plan Update, adopted September 2, 2014;
        4.   At the discretion of the Working Group a second scenario could be developed in which
                 a. The private partner will develop the commercially-zoned High Street frontage;
                 b. The private partner may consider residential development on the property;
        5.   Consideration should be given to the availability of any external funding sources that
             would assist the City in acquisition and development and what conditions might come
             with that funding;
        6.   The amount of the City's investment should be determined and the method of paying
             for that investment publicly stated; and
        7.   If multiple scenarios are developed, they should be labeled 2A, 2B, etc.

                                 Alternative - Scenario 3: Private proposal

    Intent: The intent of this scenario is that an actual proposal would be made by the current
    property interests based on their market analysis. This proposal would not include hypothetical



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     assumptions but rather an actual private sector investment proposal. The considerations of
     scenario 2 would not apply.

     This scenario would be compared to scenario 1 to provide the residents with a choice as to
     their preferred use of the property. In addition to a comparative evaluation developed by all
     parties, the preferences of the community would then be determined via either a scientific
     survey or public vote.

     Should Scenario 3 be developed, the need for the Working Group to develop Scenario 2 may be
     moot.

     Timing of Scenario Development

     The decision here is whether to develop all scenarios simultaneously or to develop them in a
     sequence. One sequence option is to develop those scenarios which can be developed by the
     community first so that the residents can think among themselves before entertaining external
     ideas. A second sequence option is to develop scenario 1 and have a community conversation
     befige developing or presenting other scenarios.

    Reporting Expectations

            1. The chaiil is expected to report to the Council at a minimum of Once monthly.
            2. All work products are draft documents until accepted and adopted by Council.
            3. It is not expected that the Work Group will make any recommendations as a body as
               to which Scenario is preferred. Rather the Work Group will report the pros and cons
               of each scenario. The work group may provide relative weightings of each pro or
               con.
            4. Scenarios will be comparatively evaluated using the evaluation criteria provided in
               the Scenario Process Architecture document.



    Technical support and External Sources

           It is envisioned service on this Work Group will require technical oversight of various
           projects needed to develop the scenarios, assess their feasibility and determine their
           financing requirements. It is not expected that Work Group members will do the
           technical work itself. The technical work will be conducted by City staff and various
           entities under contract to the City. The Work Group is authorized to request other
           specialized assistance as needed in the event the needed skill set is not already available
           or in the judgment of the Work Group an existing firm under city contract is not the best
           fit for the given task. Approval for additional assistance may be approved by the City
           Manager or Council depending upon purchasing requirements.




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            The Work Group may choose to hear from any external sources who have expertise in
            any range of these scenarios. This choice, if exercised, is not an endorsement of any
            external entity, not a sign of approval by the City itself. It is simply a source of data that
            the Work Group may find useful.




     Time Frame

           The goal is to complete development of the two scenarios within six to nine months. If
           after beginning work on the scenarios this time expectation is deemed unreasonable,
           the Work Group may propose an achievable schedule that it is willing to commit to.




     Production and Discussion Process

       fTheiVaNtroup is errgagal m a technical analysis task. At thrsameIg, tore is public
        interest in these scenarios and there are multiple alternatives Within each scenario: For this
        reason, this technical analysis will need to be conducted with multiple opportunities for
       'public input. The work Group is authorized to select whatever public,input mechanisms it
       !deems most appropriate with the following expgctations:

       fic jerk' Group           ings are
        • The public will be requested to offer any ideas for either scenario 1 and/or 2 in writing so
           that the Work Group can consider them in development of draft 1 of each scenario.
        • The Work Group will offer a draft 1 of each scenario for public comment. These
           comments will be considered in the development of draft 2.
        • The Work Group is authorized to engage in further iterations of this process if in their
           judgement such iterations add value;
        • Whatever draft number is submitted to Council will be made publically available at least
           two weeks prior to Council consideration. Any written comments received from the
           public on that draft will be made available to the Council;
        • The Chair or other Work Group member will make the formal presentation to Council. All
           Work Group members are invited to attend that discussion. If feasible, a workshop
           format would be preferable.
        • Post Council discussion the Work Group may meet to make any modifications needed
           based on Council discussion.



    Deliverables



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        •   Draft proposal for Scenario 1 as described earlier
        •   Scenarios 1A, 1B, etc. at the choice of the Work Group
        •   Draft proposal for Scenario 2 as described earlier

     Life Cycle.

     The Work Group will end upon Council acceptance of the scenarios.




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                                                        Chapter 5: Council Decision Pathway

     This chapter details the decision pathway for Council to initiate actions on one or both
     processes described in chapters 1 and 2.

                                Vision Process Architecture Decision Pathway

     Decision 1:      Go/no decision on initiating process. If no-go, stop.

     Decision 2:     If go, review and adopt Vision Committee Charter

     Decision 3:     Appoint Vision Committee members

     Decision 4:     Authorize City Manager to convene

     Decision 5:     Determine how to provide needed support

     Deasion 6       Accept, mOilify or send reports or work products         tk for a   tip   review


                           UMCH Scenario Working Group Decision Pathw5e,
                   UMCH Scenario/Signature Properties Working Group Decision Pathway

                                                 Ltir
     Decision 1:     Should the focus be on UMCH solely or all/any signature properties?

    Decision 2:      if the sole focus is on UMCH, Is there a willing seller? If yes, proceed? If no,
    stop?

    Decision 3:    Should scenarios 1 and 2 be developed concurrently or sequentially with 1 being
    substantively completed before 2 is considered?

    Decision 3:      if proceeding, review and adopt Scenario Working Group Charter

    Decision 4:      Appoint Working Group members

    Decision 5:      Authorize City Manager to convene

    Decision 6:      Determine how to provide needed support

    Decision 7:      Accept, modify or send reports or work products back for additional review




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                                            Chapter 6: Process Architecture Interaction

     Purpose

     The intent of this chapter is to describe how the Vision process and the UMCH scenario process
     could interact.

     Interaction Table

     The following table describes various potential interaction points as well as coordination issues.

             Vision Process                     Interaction               UMCH Scenario Process
      No equivalent phase              None                            Phase 0: Willing Seller? Scope
                                                                       of working group
      Phase 0: Organization            Avoid duplication of            Phase 1: Organization
                                       appointments
      Phase 1: Community              Inform Working Group of any      Phase 2: Analysis & Scenario
      Listening                       relevant findings as to public
       N
                                      desires that could impact
                                      scenario development
      Phase 2: Environmental Scan     Inform Working Group of any            .&II
      & Scenarios                     relevant findings as to public
                              tx      desires that could impact
                               ,      scenario development %eit                              4 .4&



                                      Inform Vision Committee of       Phase 3: Public perspectives
                                      any perspectives that could
                                      influence scenarios
     Phase 3: Survey                  Coordinate timing                Phase 4: Survey
     Phases 4&5: Preferred Future     Examine consistency of           Phase 5: Policy
     Statement                        UMCH policy direction with
                                      Preferred Future Statement




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                                                        Chapter 7: Council Decision Points

     The following table summarizes those points in both processes where the Council will provide
     some form of guidance to either the Vision Committee or the UMCH Scenario Working Group.
     Final decision points are also noted.

                                            Vision Project
      Phase                          Deliverable (if applicable)    Council Guidance
      0: Project Organization        Draft process architecture     Decision to proceed with
                                                                    Vision process or not.
                                                                    Approval of proposed
                                                                    process as draft or modified
                                     Draft Charter                  Review and adoption of
                                                                    Vision Committee Charter
                                     Draft Committee Models         Appointment of Vision
                                                                    Committee
                                                                    Instruction to convene
     1?Community Listening           Draft Visioning Question       Approval of 4 questions    . •I
                                     Committee Summary Report       Receive and comment
     2: Environmental Scan &         Minimum of two scenarios       Receive anl approve
     Scenario Development
     3: Community Survey             Draft survey                   Receive and approve
                                     Survey results                 Receive and comment
     4: Preferred Future             Draft Statement(s)             Receive and comment
     Statement Development
     5: Preferred Future             Final Statement                Receive, edit, and adopt
     Statement Final


                                     UMCH Scenario Project
     Phase                          Deliverable (if applicable)     Council Guidance
     0: Project Initiation          Mission of Working Group        Focus solely on UMCH
                                                                    property or broader focus on
                                                                    Signature Properties.
     0: Project Initiation           Willing Seller Letter          Decision as to move forward
                                                                    with project or not
     1: Project Organization        Draft process architecture      Approval of proposed
                                                                    process as is or modified
                                    Draft charter                   Review and adoption of
                                                                    Scenario Working Group
                                                                    Charter
                                    Draft Working Group Model       Approval "as is" or modified




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                                  Appointment of Working          Approval
                                  Group
                                  Expenditure authorization       Direction to Manager
      2: Technical Analysis and   Draft UMCH acquisition          Review and comment
      Scenario Development        scenarios
      3: Public perspectives      Revised Draft scenarios         Review and comment
      4: Community Survey         Draft survey                    Edit and approve
                                  Survey results                  Review and comment
                                  Survey interpretation by        Review and comment
                                  Working Group
      5: Policy Decision          Option as identified in         Decision
                                  process architecture or later
                                  developed




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          Conclusions and Recommendations for a decis                              naking process
         regarding the future use of the United Methc                             Children's Home
                                             propers                               thington, Ohio




                                                DRAFT 1.f.




                                                                                    Report prepared by:

                                                                          Herbert A. Marlowe, Jr., Ph.D.
                                                                                     Principal, Analytica

                                                                                      August 30th, 2018

        This report is submitted as a draft in the event place names or other identifying phrases are
        incorrect, changes may be needed for purposes of clarification and that there are proposals
           herein that will require discussion with outside parties. If so, clarifications, corrections or
                                                    acceptable modifications will be made in the final.




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                                                                              Executive Summary

     Analytica was engaged to review the history of land use decisions regarding the United
     Methodist Children's Home (UMCH) property to determine if a process could be designed that
     could lead to resolution regarding the future uses of the property. Community members and
     stakeholders were interviewed and various documents reviewed. This report summarizes the
     conclusions of those interviews and presents a proposed process to resolve the various uses for
     the property.

    The land use decision is complex due to the unique nature and size of the property. Everyone
    agrees that its future use will be of significant impact to the community. Beyond this
    agreement, there are differing views on the best use. These various perspectives are discussed
    in the conclusions section of this report.

    Given the significance of this land use decision, and the differing perspectives on what is best
    for the community, two community conversations are proposed which would occur in parallel.
    The first conversation, Conversation One, would focus not on the property but on the longer-
    term vision for Worthington. This conversation seeks to arrive at a broadly shared
    understanding and agreement as to what type of community Worthington should strive to
    become and/or remain. This conversation is important for a variety of reasons. With respect to
    the UMCH property, it will provide the context for assessing what land uses would be most
    consistent with the vision. It will also complete the first phase of a strategic planning process
    which will focus the City on its key priorities and results.

    The second conversation, Conversation Two, is specific to the UMCH site. In this conversation
    three approaches to land use would be analyzed in-depth and compared so that residents can
    better determine which approach best fits the vision. These three approaches involve (1) a
    private sector approach in which a developer, after extensive community input, would propose
    an approach that the marketplace would support; (2) the development of a public-private
    approach in which various public goods are achieved through a private sector partnership, and
    (3) a public purchase option.

    Each of these options will be developed in sufficient depth and presented to the public in
    sufficient detail that the informed resident can make their preference known. A variety of
    mechanisms are discussed for this final resolution.




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                                      Conclusions: Existing and current perspectives

     The following conclusions were drawn from the various interviews conducted the week of July
     20th with Worthington stakeholders.

    Conclusion #1: There are points of shared or common agreement

    These include:

        •   There is broad agreement that the United Methodist Children's Home (UMCH) property
            is distinctive and that its future use of will significantly impact the future of
            Worthington.

        •   Given the importance of the payroll tax for operations of City government, use of a
            portion of the property for businesses with significant payrolls is an important
            consideration.

        •   An item of need for the community is single floor housing for staying in the community.

        •   A section of the property, Tucker's Creek, will need to remain in a natural state.

        •   Whatever happens on the property should be of the same quality or higher that
            currently exists in Worthington.


    Conclusion #2: At least two perspectives exist as to future use of the UMCH site

    Two differing perspectives as to the future use of the UMCH property were articulated during
    interviews. There may of course be others. These two are described below.

            The belief that the City must adapt to national and regional trends in mixed use, denser
            development, "new urbanism" models to remain attractive for economic development,
            housing preferences and future growth. This perspective views the development
            patterns of prospering communities nationally and regionally. Also, it views the
            marketplace as:
                • desiring more dense development with the ability to walk to many services;
                • having an increasing preference for apartment living rather than home
                   ownership;
                • and a growing value emphasis on sustainable lifestyles which use less land and
                   resources, prefer the variety of experiences that mixed use development allow.




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           This perspective concludes that due to the associated benefits of this development
           pattern in terms of job growth, property values, payroll income, and dynamism that
           come with those patterns Worthington must develop on a limited basis some of those
           features to remain a quality community. Two features of the above-mentioned
           development pattern are mixed use and increased density, which can generically be
           called "new urbanism". Those who hold this perspective believe that the continued
           regional growth will require some level of increased density, that home ownership
           patterns are changing and high end rentals are becoming increasingly important and
           needed, and that over-reliance on single family homes is detrimental to the future of
           the community. This perspective also believes that creative and knowledge-based
           businesses desire to locate in mixed use developments. This perspective also views
           much of the community's single family home stock as becoming outdated and not fitting
           the new expectations of the future. In sum, this perspective is concerned that
           Worthington will decline in quality unless is adopts and adapts to changing housing and
           economic patterns. The core strategy here is to maintain and enhance all existing assets
           while adding other assets that have proven to add value to other communities.

           The belief that current features of the community are highly distinctive and preserving
           this distinctiveness is the key to the continued quality of the community. This
           perspective holds that the family nature (including multi-generational) of the
           community — single family homes, good schools that are within walking distance,
           attractive neighborhoods — is an enduring advantage. When that asset is combined with
           the historic downtown, good transportation network, community safety and the
           availability of daily amenities, the city will remain a highly attractive place to live. This
           perspective holds that the "bones" of the city are strong enough for it to remain vibrant
           into the future. From this perspective, continuing increases in quality and protection of
           a distinctive identity are what will assure community health. There is no need to fully
           respond to broader development trends given the unique strengths of the community.
           Rather maintaining the city's distinctive features and character make it a desirable niche
           in the greater region. It is maintaining and enriching Worthington's sense of place and
           distinctive family lifestyle that form the strategy for future success.

    Conclusion #3: There has been a drawdown of social capital in the community

    Social capital is the ability of a community to work together to address shared issues in a
    productive manner.

           From a longer historic perspective, changes of use of portions of the Methodist's
           property have always generated controversy. Long ago sales of land for housing were
           controversial. Further sales for development were resisted by owners of the original
           housing. Recently, a proposal for a Giant Eagle grocery or the following proposal by
           Lifestyle Communities were met by community opposition. These most recent events
           have led to controversy and distrust with various "agendas" being assumed and
           negative perceptions of others developed. While Worthington's social capital account is


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            certainly not exhausted, it has been stressed or "drawdown" consequently. And the use
            of the land remains unresolved.

     Conclusion #4: The experience of "not being heard, of not being responded to, of not being
     treated fairly" is broadly present.

     A variety of feelings currently exist and must be acknowledged in any future process.

            Many persons, regardless of their position on the issue or role in the process, do not
            believe that their perspectives have either been heard or responded to by other
            participants. Others believe they have listened extensively, carefully and have
            responded. But because the response was not the desired response, it has been
            characterized as not listening. Others believe that UMCH has been treated unfairly in
            the process. The result of all these experiences is a combination of frustration, hurt
            feelings, distrust as alluded to in finding #3, and a perception of a lack of goodwill or
            hidden agendas on the part of others. The motivations of others are questioned and
            viewed as not considering the best for the community but rather a sole concern with
            self or narrow self-interest.

     Conclusion #5: Assumptions need to be identified and reviewed.

     Anytime a significant change is proposed, various assumptions are made about what that
     change could mean. Some assumptions can be factually checked, others only debated. Some
     of the assumptions that need to be considered in this situation include:

            The impact of apartments. Some assume that apartments will bring a high number of
            children that could negatively impact a school district already at capacity in some
            situations. Others assume any developed apartments would target a higher income
            demographic with fewer children. Other concerns were transportation and traffic and
            transience of residents. The long-term quality of, or continued investment in,
            apartments was also a concern.

            The city does not need, nor can it afford, additional open space. Existing parks and open
            areas are sufficient for current and future needs. In addition, there is a need for
            additional funding to maintain existing services and to continue reinvestment in existing
            parks. There is a list of needs for existing parks that would be limited or constrained by
            the addition of additional space.

           The city is not competitive. The city in its current form will lose ground to surrounding
           cities who offer new features, more options or other characteristics that are or will be
           desired in the future by both businesses or residents.

           Differing perceptions about density are based on differing assumptions about density.
           Some assume a significant increase in density is a negative, bringing noise, traffic and


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            other ills as well as changing the character of the community. Others assume a
            significant increase in density is responsive to clear trends in housing choices and
            business needs and there are overall benefits to the community. There are differing
            perceptions about density (see Conclusion #7). A review of the assumptions underlying
            these two perceptions is warranted.

     Conclusion #6: Differing definitions of, and perspectives about, growth are held in the
     community.

     For a community conversation to be productive, there must be a shared understanding of key
     words. One of those words is growth.

            There is broad agreement that any city is dynamic and therefore must continue to
            evolve unless it wishes to decline. There are numerous examples of "ghost towns" that
            ceased to exist once the industry they were founded on ceased to exist. There are even
            more examples of cities in decline as their major industries moved away or failed when
            new economic drivers were not created. Neither of these cases are particularly relevant
            to Worthington. What is relevant is that there is much more competition for attracting
            and retaining jobs and businesses and re-investment in buildings. Worthington has
            some competitive advantages but also it has disadvantages to address to avoid decline.

            If one accepts the phrase, "grow or die" as being a fact of life since every living thing is
            either in the process of growing or the process of dying (or both at the same time), the
            important discussion is about what the word "growth" means. Growth is often equated
            with population growth, expansion of the city's boundaries, growth in the tax base,
            growth in per capita income, or new construction, particularly higher rise construction
            in the business district(s). These are all valid uses. Yet there are other ways to define
            and understand growth.

           The first and most obvious alternative definition is growth in quality of life. Schools are
           better, the transportation system is more efficient and effective, there is a range of
           higher quality services, shopping and entertainment, the community is even safer than
           it has been in the past, one can meet many needs without having to leave the city
           boundaries.

           Another alternative definition of growth is a strengthening of community identity and
           sense of place. While much more difficult to quantify than quality of life factors,
           community pride, a positive sense of place, the experience of living somewhere that
           feels special are all real socio-psychological factors that influence personal satisfaction.

           A third definition of growth is increasing capital formation. Two of these are rather
           obvious and often included in a popular definition of growth. Financial capital is one
           and that includes the income of the community, the public revenues and financial status
           of the government, employment rates. An economically vibrant city is a growing one in


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            the sense it has greater capacity to address needs and priorities. Physical capital is
            another commonly used definition. The quality of the city's infrastructure is another
            indicator of community quality and vibrancy.

            There are two other forms of capital which receive less attention in discussions of
            growth. These are intellectual capital and social capital. Intellectual capital refers to the
            educational level of the community and the presence of knowledge-based industries.
            Social capital refers to the ability of the community to productively address common
            issues in a manner which strengthens rather than divides the community.

     Conclusion #7: There are different perceptions about density

     Much of the concern about the future use of the UMCH property has been about density of
     use.
           What comprises dense development is a matter of experience, perception and context.
           There is the story regarding Daniel Boone that when he could see the smoke from
           someone's else fire over the mountain the area was getting too crowded for him. For
           persons used to living in rural areas, homes on five acre tracts can feel dense. At the
           opposite extreme, persons living in the core of highly dense cities would find a 6,000-
           square foot lot extremely spacious.

            In addition to differing experiences of what is dense, there are also a range of attitudes
            about density. Some view density as good in that it makes better use of land, optimizes
            infrastructure, reduces traffic and creates a more interesting city. Others view density
            as bringing some of the problems of urban life such as noise, crime, traffic and transient
            persons not invested in the community. Both viewpoints can find supporting data for
            their perception. Both viewpoints exist in Worthington.

     Conclusion #8: There are differing perspectives on risk.

     Decision-making, at a community, corporate or individual level, is about balancing opportunity
     and risk. What the risks are, their likelihood, and how manageable are all factors to consider in
     the decision process. There are at least two views of future risk related to the UMCH property.

            One is that if the community fails to develop the property along lines that other
            communities are developing, Worthington will be left behind as a preferred place to
            live. From this perspective, the city will not have the tax base it needs to continue to
            maintain a high level of service, will not be attractive to higher wage industries and the
            housing in Worthington will not grow in value commensurate with the growth rate of
            nearby communities. Worthington will simply not be on a quality par with its neighbors.
            Over time this heightens the possibility of decline.

            The second view of risk is that development of the property at a significantly higher
            level of density than has previously been done in the surrounding area will be


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            inconsistent with the identity and character of the City. By allowing a significantly
            higher level of density, the city will lose those highly distinctive features which make it
            such an attractive place to live. An intangible but real asset will be lost and the
            distinctiveness that gives Worthington an advantage will cease.


     Conclusion #9: Confidence in city government has been weakened.

     The effectiveness of a local government is highly dependent upon the trust and confidence of
     its residents and businesses.

            An unfortunate consequence of this controversy is that confidence in city government
            has been weakened from three perspectives. One, some believe that city government
            doesn't listen and has been non-responsive to their requests. A second perspective is
            that city government has listened only to the few who were the most visible and vocal
            and has failed to decide in the best interests of the full community. A third perspective
            is that the city has failed to be proactive with respect to a significant issue. Correct or
            not, these perceptions have weakened confidence. Whether this weakening is a serious
            issue or not is an open question.




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                      Recommendations: Two parallel community conversations

     To resolve the future land use of UMCH, two community conversations are proposed. The first,
     termed Conversation One, will focus more broadly on the future of Worthington rather than on
     a specific site. The core question it is seeking to answer is what position does Worthington wish
     to hold among its surrounding communities, i.e. what is its preferred future?

     The second conversation, termed Conversation Two, will focus specifically on the UMCH
     property. In this conversation, at least three alternative uses of the property will be discussed.
     One is a public purchase option. A second is a public-private partnership of some form. A third
     would be a private marketplace solution. The intent of Conversation Two is to fully explore
     these three alternatives (and various versions within them) so that the community is fully
     informed about the alternatives and better prepared to select and support one of the
     alternatives.




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        Conversation One: A comprehensive, community-wide discussion
                  about the preferred future for Worthington

     Purpose:

            Develop a community generated and endorsed statement describing the preferred
            future for Worthington including identification of assets and opportunities, weaknesses
            and risks.

     Rationale:

            There is a twofold rationale for Conversation One. First, it completes the first step of a
            community visioning and strategic planning process in that it articulates a preferred
            future for Worthington. The second step would be to develop a strategic plan that
            determines how that preferred future will be pursued.

            Second, it provides a context for the community discussion and decisions that comprise
            Conversation Two. The future use of the UMCH property ideally would be consistent
            with, and contribute to, Worthington's preferred future and strategic direction.

    Host:

            The City

    Process architecture: Major Stages

            Stage 1: A discussion of community character

            The following questions will be discussed in stage 1 in a variety of discussion formats:

                   •   What values distinguish Worthington?
                   •   How would you describe the identity of Worthington? Does it have a "feel"
                       about it that differs from other surrounding communities?
                   •   What reasonably possible trends, events or factors could impact
                       Worthington, positively or negatively, in the next 5 to 20 years?
                   •   What opportunities could develop for Worthington; What risks must be
                       managed?

            Stage 2: Alternative scenarios of Worthington's future

                   Iterative Scenario Development

                   Scenario rating



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            Stage 3: The vision for the future

                      Drafting and iterative review of positioning statement

                      American Assembly

                      Adoption by Council

     Process architecture: Events

     Stage 1: A discussion of community character

            Events:

            •   Review of pertinent prior literature
            •   Selected interviews
            •   Focus groups
            •   Web-based interaction (tool to be selected with staff)
            •   Town Hall Meeting
            •   City blog
            •   Summary report

     Stage 2: Alternative scenarios

            •   Review of pertinent prior literature
            •   Scenarios first draft
            •   Posting and distribution for community comment
            •   Advisory committee review and public comment
            •   Scenarios second draft
            •   Posting and distribution for community comment
            •   Advisory committee review and public comment
            •   Final scenarios
            •   Advisory committee approval
            •   Scenario rating

    Stage 3: Vision for the Future

            •   Positioning statement first draft
            •   Posting and distribution for community comment
            •   Advisory committee review and public comment
            •   Positioning statement second draft
            •   Posting and distribution for community comment
            •   Advisory committee review and public comment


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            •   Positioning statement draft for community consideration in American Assembly
            •   Advisory committee approval
            •   Posting and distribution for community review prior to assembly
            •   Design and logistics of American Assembly
            •   American Assembly (or similar process)
            •   Advisory committee verification of American Assembly version
            •   Presentation and adoption by Council

     Process architecture: Schedule

            Attachment A presents the proposed schedule for Conversation One.




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       Conversation Two:            A site     specific     conversation about the UMCH
                                                  site

     Purpose:

             An analysis and discussion of three major alternatives for the use of the UMCH site with
             the intent of fully exploring each alternative so that the community can make an
             informed decision as to preferred use.

     Rationale for conversation two

        •    Provide residents with broader choice of options
        •    Better inform residents as to costs and other implications
        •    Increase community trust and confidence in final decision as to site use

     Host:

             The City

     Process architecture: Elements

     This conversation would have the following elements:

             It would be managed and facilitated by an external third party with no interest in any
             alternative and whose sole purpose is to ensure a productive and professional process.

             City staff and any engaged consultants sole function would be to provide various
             analyses and facts that would be needed by the community to select an alternative.
             (See attachment B for the recommended skill sets that will be needed)

             A group of residents appointed by the City Council will provide oversight to the process
             and guidance to staff and consultants as to both needed analyses and process
             architecture. (See attachment C for a recommended structure)

             Three major alternatives will be explored during an extensive community engagement
             process. These alternatives can be understood as positions on a public-private
             continuum as described below.

             Public                       Public/Private                        Private


             The public end of the continuum refers to an alternative in which the land is publically
             purchased. To make the public purchase feasible, some portion may be sold for private



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           development. The key to understanding this alternative is that the City fully drives this
           option, does most of the work and takes most of the risk.
           At the opposite pole, private, the land is privately purchased and developed. Public
           incentives or assistance may be provided as it could be for any development that would
           add value to the City. However, it is the private developer that is the driver for this
           alternative. The product of course should be beneficial for both public and private
           interests but the private party will expect significant benefit. In this alternative, the
           private developer does most of the work and takes most of the risk.

           At this middle is the public/private alternative. This can take many forms. In this option
           both the public and private interests are collaboratively driving the nature of
           development with each making investments and each developing together an approach
           that is mutually beneficial. In this model work is shared as is risk.


          Each of these options are described more fully below,

          •   A private marketplace approach in which a private developer would, after extensive
              engagement with the community, provide a proposal that in their expert opinion
              would be beneficial to the city and financially viable. This proposal should be of
              sufficient substance and depth that it could be approved by the City and the
              developer would be willing to move forward with its development through private
              funding mechanisms as well as normal public incentives. By participating in this
              community conversation both the private developer and the owner retain all their
              legal rights including confidentiality agreements and practices, their options to
              request public benefits, and the right to make their own decisions about the final
              proposal.

          •   A public-private approach in which the City and preferably the same private
              developer (but not necessarily) would explore a partnership in which various
              features that the community might prefer can be developed through a mix of public
              and private investment and financing. This approach will begin with two
              assumptions about community preferences that will be tested during the
              community engagement events. One, there is a community preference for a
              significant portion of the property to remain as open space. Second, there is a
              community preference for a less dense development pattern than has been here-to-
              fore considered. Other preferences and priorities may be identified during the
              community engagement stages of the project.

          •   A public purchase option. In this approach, an analysis will be conducted to
              determine if the City could afford to purchase the property itself. These would
              include but not limited to:




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               o An analysis which would determine whether acquisition could be debt free
                 (perhaps after a reasonable length of time) and development costs would be
                 covered;
               o An analysis which would determine whether ongoing maintenance could be
                 covered by revenue streams from the property;
               o An analysis to determine if there could be overall economic gain to the City.

                A challenge for the public purchase option. The public purchase analysis would
                be relatively straightforward were there a public for-sale price on the property.
                However, the current sale price is now confidential which makes the challenge
                for developing the public option one of determining "how much could we afford
                to bid?" This creates its own challenges and problems to be managed. But this
                is the context in which the public option must be developed unless the current
                owner/buyer choose to change the context.




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     Process architecture: Community engagement

     A key feature will be a coordinated community engagement process in which all three options
     are discussed

     This process is envisioned as a collaborative effort that will generate the following results:

        •   Information needed by the private developer to prepare a proposal that will satisfy the
            developer's quality, reputation and financial requirements;

        •   Information needed to prepare a public-private proposal;

        •   Information needed to prepare a public purchase option;

        •   Sufficient opportunities for residents and other stakeholders to voice their preferences,
            concerns, and needs;

        •   Sufficient opportunities for the private developer to explain how his proposed plan will
            address voiced preferences, concerns, and needs;

        •   Sufficient opportunities for iterative community dialogue to determine how
            modifications of any of the three options would be viewed and received;

        •   An analysis, initially developed by city staff/consultants and reviewed by the Advisory
            Committee, of both the public-private and public purchase options as to financial
            feasibility and what actions would be needed to make either of these options feasible;

        •   A published comparison of the three options (or all viable options) on a variety of
            metrics (see attachment D for an initial list);

        •   The opportunity, via either public survey, town hall meetings, or varieties of e-dialogue,
            to compare the options, in a consensus seeking process to determine if one approach
            receives broad community support;

        •   A process and schedule consistent with the time needed by the private developer to
            prepare his proposal (see attachment E for initial draft);




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     Process architecture: Final decision

     The goal of Conversation Two is that a final decision is made as to the future use of the
     property. There are a variety of pathways to this final decision. The selection of the pathway
     should be made after the options have been compared in public dialogue. Potential pathways
     could include the following as well as other pathways that develop during the project:

            •   A broad and clear consensus could develop which the City could then adopt or
                approve through its normal processes;

            •   Broad agreement does not materialize. Two options are then available. One, the
                developer could then submit his proposal, and the City approve it, following iterative
                review, with the intent and understanding that a referendum may occur. Two, the
                developer submits his proposal, the City goes through an iterative review but
                ultimately the City rejects it;

            •   Using the tool of an advisory election, the private developer proposal and whichever
                of the two public-related (public-private or public purchase) options have proven to
                be the most feasible, be subjected to a non-binding vote. If the private development
                option was preferred by the public, the private developer would then apply for
                development and the standard city processes would occur, including the possibility
                of referendum. If the public option was preferred by the community, the City would
                initiate appropriate actions. This would not preclude the private developer or owner
                from submitting their own proposal for city consideration of course.




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                                      Attachment A: Conversation One Events and Schedule

                                        Illustrative Master Schedule



      Stages & Events                                                     Months
                                                                              2    3   4   5   6   7
      Stage 0: Logistical preparation and project management
                                 Appointment of advisory committee
      Identification and retrieval of relevant prior studies & projects   x
             Review and selection of web-based engagement tool(s)
                                Meeting site selection and scheduling
                                           Public communication plan      x
                                        Advisory Committee meetings       x   x    x   x   x   x   x
                                            Staff meetings as needed      x   x    x   x   x   x   x
                                           Council briefings as needed    x   x    x   x   x   x   x

      Stage 1: A discussion of community character
                                 Review of pertinent prior literature x
                                                Selected interviews           x
                                                      Focus groups            x
                                            Web-based interaction             x    x
                                                Town Hall meetings                 x
                                                            City blog         x    x
                                                   Summary report                  x

     Stage 2: Alternative scenarios
                                 Review of pertinent prior literature     x
                                                 Scenarios first draft            x
                  Posting and distribution for community comment                  x
                   Advisory committee review and public comment                   x
                                             Scenarios second draft               x
                  Posting and distribution for community comment                       x
                   Advisory committee review and public comment                        x
                                                     Final scenarios                   x
                                      Advisory committee approval                          x
                                      Scenario rating by community                         x
                                                    Summary report                         x




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      Stage 3: Vision for the Future
                                    Positioning statement first draft   x
                  Posting and distribution for community comment        x
                   Advisory committee review and public comment         x
                                 Positioning statement second draft         x
                  Posting and distribution for community comment            x
                   Advisory committee review and public comment             x
        Positioning statement draft for community consideration in          x
                                                 American Assembly
                                       Advisory committee approval          x
             Posting and distribution for community review prior to         x
                                                          assembly
                         Design and logistics of American Assembly          x
                                                 American Assembly              x
            Advisory committee verification of American Assembly                x
                                                             version
                              Presentation and adoption by Council              x




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           Attachment B: Skill sets needed for development of public-private and public
                                                                      purchase options


     Consultants to supplement City staff skills and time requirements

     Public finance and public-private development expertise
     Design firm for renderings, graphic design
     Traffic engineer/transportation planner
     Neutral process facilitator

     Local advisory committee

     Banking and finance
     Construction
     Commercial and residential real estate
     Land use and planning




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     Attachment C: Local Advisory Committee for Conversation One & Sub-Committee
                                                              for Conversation Two

                                                 Charter
     Proposal:

            Establish an advisory committee for the community visioning process that will have a
            sub-committee with appropriate expertise to guide the UMCH conversation
            (conversation two). While the focus of this committee is on the visioning process, the
            visioning products lay the basis for a strategic plan for the City.

     Purpose:

        1. Ensure there is oversight to both conversations so that needed coordination can occur,
           and coordinated communication to the public is provided.
        2. Provide guidance and advice to the community visioning process regarding community
           engagement, data gathering and data interpretation.
        3. Develop a draft vision/positioning statement for community adoption
        4. Sub-committee: Provide advice and quality control to ensure that the various public
           developments options are thorough, accurate and represent standard and acceptable
           business case analyses in which the residents can have confidence.
        5. Sub-committee: Monitor the analyses and presentation of public and private
           presentations to ensure that public presentations and analyses are of similar quality to
           any private work.

    Role of the chair/co-chairs

        1. Chair both the visioning meetings and the sub-committee meetings (they may alternate
           given personal schedules)
        2. Develop agendas with staff support
        3. Manage those agendas to ensure full discussion of all viewpoints
        4. Manage the meetings to ensure productive use of time, maintaining focus on the
           agenda topic and promoting civil conversation and discussion
        5. Actively seek to develop committee consensus where possible
        6. Review meeting minutes (taken by staff) to ensure accuracy
        7. Manage public comment when scheduled

    Role of public ex-officio members

       1. Provide the Committee with City perspectives on any topic
       2. Inform the City Council of the status of Committee deliberations
       3. No voting power



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     Role of private ex-officio member on sub-committee

        1. Update committee on private development status as appropriate
        2. Assist in coordination of timing to help community review all potential options in the
           same period;
        3. No voting power


     Other requirements

            1. No committee or sub-committee member may have any financial stake in the
               purchase or development of the UMHC site. The private ex-officio member is
               exempt from this requirement.
            2. Commitment to actively participate during the life of the Committee
            3. All meetings will be publically noticed and held in a facility that will enable public
               observation

    Life-cycle

        1. The committee and sub-committee will terminate upon making its final report to City
           Council.

    Example membership — Visioning Committee for Conversation One (ideal membership would
    be 7-9 members excluding chairs)

        •   Neighborhood representative(s)
        •   Economic development representative
        •   School board representative
        •   Civic group representative(s)


       •    2 co-chairs
       •    2 members of council as ex-officio

    Example Membership: Specific sub-committee for development of public-related options of
    Conversation Two. These persons are full members of the Visioning Committee but agree to
    serve in a more intense sub-committee role that may limit their participation in the full
    committee work.

       •    Banking and finance
       •    Construction



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        •   Commercial and residential real estate
        •   WARD representative
        •   OWA representative
        •   Representative of private developer as ex-officio
        •   2 members of council as ex-officio



     Process for appointment

        1. Standard city committee appointment process




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                                                             Attachment D: Comparison criteria

     The following criteria should be considered for use in comparison of the various land use
     options developed during the community conversations:

        •  Density rates
        •  Percentage of open/greenspace
        •  Design of green space in terms of linear vs. rectangular design, i.e. visible size of green
          space
        • Single floor housing data
              o # of units
              o total square footage of units
              o Cost estimate range per square foot
        • Housing cost data
              o Projected cost range of housing for sale
              o Projected rental fees
        • Job potential
        • Traffic
        • School impact
        • Property tax
        • Cost of public services — operational
        • Capital cost to city
        • Impact on residents in terms of either increased property tax, fees, or other charges
        • Environmental impacts
              o Land
              o Stormwater
        • Compatibility with neighborhood
        • Walkable
        • Overall quality




                                                                                                     25



                                                                                               Worthington 058359
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     Attachment E: Process architecture and schedule, UMCH site

                                     Illustrative Master Schedule



                          Stages & Events                                      Months
                                                                1
      Stage 0: Logistics and Project Management                 x
                               Role definitions and boundaries x
                            Advisory Committee appointments x
                                    Public communication plan
                Review and modification of draft project plan
                                  Site selection and scheduling
           City identification and securing of needed skill sets   x   x   x
                                 Advisory Committee meetings       x   x   x   x    x   x     x
                                          City Council briefings   x   x   x   x    x   x     x
                                                 Staff meetings    x   x   x   x    x   x     x

     Stage 1: Assessment of community issues
                                    Community meetings                 x   x
                                          Summary report                   x

     Stage 2: Analysis and design
                     Development of private sector proposal                x   x   x
                        Development of public-private option               x   x   x
                     Development of public purchase option                 x   x   x

     Stage 3: Public presentation and testing of all
     alternatives
                                Advisory Committee briefing                        x
                                  Community presentation 1                         x
                              Design modifications if chosen                       x
                                 Community presentation 2                               x
                      Comparative analysis of all alternatives                          x




                                                                                                  26



                                                                                            Worthington 058360
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      Stage 4: Community preference testing (some options
      are listed here; specific action to be chosen by Advisory
      Committee)
                                              Community survey             x
                                  Community polling event                  x
         Recommendation by Advisory Committee based on                     x
                                         stage 3 comments
                                                    Other?                 x
       Summary of results from whatever technique selected                 x

     Stage 5: Land Use Decision (some options are listed
     here; specific action to be chosen by City Council
              Endorsement of an alternative and subsequent                x
                                        approval/action steps
                         Decision to hold an Advisory Election            x
        Decision to approve private sector proposal and plan              x
                                              for referendum
                                                       Other?             x




                                                                               27



                                                                        Worthington 058361
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Message

From:        Greeson, Matt [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
             (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=E02E0F169E0140A08552304F1CFBCF86-GREESON, MA]
Sent:        2/7/2020 6:12:55 PM
To:          Michael, Bonnie [Bonnie.Michael@worthington.org]; Myers, Scott [Scott.Myers@worthington.org]; Scott Myers
             [scott.myers@ohioattorneygeneral.gov]; Robinson, David [David.Robinson@worthington.org]; Kowalczyk, Beth
             [Beth.Kowalczyk@worthington.org]; Dorothy, Rachael [Rachael.Dorothy@worthington.org]; Bucher, Peter
             [Peter.Bucher@worthington.org]; Smith, Doug [Doug.Smith@worthington.org]
CC:          Stewart, Robyn [Robyn.Stewart@worthington.org]; Thress, D. Kay [Kay.Thress@worthington.org]
Subject:     UMCH Comprehensive Plan Issue
Attachments: talking about UMCH / Comp Plan



Dear Council Members:

On January 31, 2020, I wrote to provide responses to questions posed regarding the status of the UMCH Comprehensive
Plan Update. Additionally, I provided comments on five options that I think are available to the Council.

Attached is a follow-up email sent to me by Council Member Robinson. It would be very helpful to have clarity on what
the Council as a whole feels on these matters. I am writing to respectfully request that the full Council provide direction
as to whether it wants this issue to be placed on the agenda and discussed and, if so, when? Thank you for your
consideration. --Matt




MATT GREESON
CITY MANAGER
CITY OF WORTHINGTON
6550 N. High Street
Worthington, Ohio 43085
Office: 614436-0368
v,P,P,rw.vvorthim:7ton.org




                                                                                                          Worthington 058362
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Message

From:         Robinson, David [David.Robinson@worthington.org]
Sent:         2/5/2020 8:35:20 AM
To:           Greeson, Matt [Matt.Greeson@worthington.org]
Subject:      talking about UMCH / Comp Plan



Matt,

Thinking about our conversation yesterday post-breakfast: if you think it would be good for Council to directly
engage the issue of the Comp Plan (and I think you do, as indicated by your thorough response to my initial
email inquiry and your remarks at Council on Monday), have you considered direct outreach to Council
members, particularly Bonnie and Scott? I would guess that when LC contacts the city and requests a
meeting, or any time you have something of essential importance to discuss, that you simply call them and
they respond affirmatively. Right? This is an example of where your leadership, or at least anticipatory
management (which you are so good at practicing in a host of other areas [which I say genuinely and not
simply to flatter]) would serve all of us.

If you'd like to discuss, please call. I am, as you know, committed to discussing this with Council, and I'll most
likely initiate this with my colleagues if no one else will. To not engage this issues at this point in time would, I
believe, be negligent and the opposite of leadership. It's not like we (the city, the Council, staff) have not been
through this rodeo before. And, disturbingly, the way we handled Yaromir struck me (as I stated to you in a
couple of emails back in 2018) as demonstrating that we have failed to learn the key lessons from Lifestyle-
2015. So I'm not particularly optimistic right now (I am truly sorry about having to say this) about the way you
and "leadership" will handle the upcoming process at UMCH. Back in 2017-18 we privileged Yaromir's
immediate access to the city and, almost, set up a process that would have been truly "developer-driven" as
opposed to "resident-centered." We barely dodged that bullet. And, unless something changes soon, we're
about to do this all again with LC. In fact, we've already started with that "no notes" meeting that was held
with LC recently. This is why a rescinding of the CP update would be a good idea, because it would help to
rebalance our orientation and priorities, back to at least a neutral position with the residents.

This issue is at the core of why our city has been acrimonious in recent years, and I believe conflict will be
perpetual unless "the city" (i.e., "leadership") finally, finally let's go of the ego and the belief that it knows
better, and starts fully respecting the residents by not trying to manipulate information and minds, but instead
fully and fairly works on their behalf. This has yet to happen. Stafford is a current demonstration of our
skewed and backwards process of ours that tries to present itself as open and fair but in fact frustrates
because it is nothing of the sort. Hence the continued, and fully justified, anger of those who see and
understand.

David




                                                                                                    Worthington 058363
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                                       Office cif the City Manager
     January 31, 2020


    TO:            Members of City Council
     FROM:         Matt Greeson Af
                   City Manager

    SUBJECT:       Responses to questions posed by Council Member Robinson regarding status of
                   UMCH Comprehensive Plan Update
    On January 24, 2020, Council Member Robinson posed via email several important questions
    regarding the Comprehensive Plan as it relates. to the United Methodist Children's Home
    (UMCH) property. The following are his questions along with my responses. 1 have also
    provided comments, an outline of options I believe are available to the City, and key questions
    that need to be answered. I hope this inforrnatio.n is helpful and would be glad to address any
    additional questions that may arise.
    What, in your mind, is the current status of the UMCH Comp Plan Update? is it in full
    force, on par with the rest of the Comp Plan?

           When the City Council approved Resolution Number 2014-39, it amended the
           Comprehensive Plan, updating the existing section that discussed the UMCH property.
           Since then, no policy action has been taken or legislation. adopted by Council to suggest
           that one section of the Comprehensive Plan holds more or less "force" than another. Nor,
           can staff independently or arbitrarily decide such a thing.

           However, I do believe the City has some flexibility in.detennining what elements of the
           Comprehensive Plan it proactively pursues or places emphasis on. I discuss this further
           below.

    I think I remember Lee stating something along these lines at a council meeting last fall;
    that the Update is "current policy" or something to that effect. Or have the various
    statements from Council, usually made in the context of the Visioning Process, regarding
    the Comp Plan being at or near the end of its life (I can't remember the exact language
    from our resolution), sufficient to effectively negate its current relevance and standing?

           No. Until amended, replaced or repealed by Council action, it remains a part of the
           adopted policy framework by which development is and will be reviewed.




                                                                                              Worthington 058364
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            Memorandum to City Council
            January 31, 2020

      Stated in practical terms, what will you and the rest of staff do if LC makes a proposal and
      cites the Comp Plan as a basis for justifying their proposal?

             Will you accept their proposition without qualification?

                    No. We will independently and objectively review any development proposal
                    applying the adopted policies, plans, regulations and practices in place, including
                    the Comprehensive Plan,
             Or will you claiM that the Update is effectively no longer in force? Which is it? Or
             some other alternative?

                    We will certainly be open and clear with all involved that aspects of the plan do
                    not enjoy community or council consensus; that community engagement will be
                    critical to developing a proposal that is ultimately successful, and will encourage
                    focus on elements the Council deems desirable (maybe park space, office, a
                    restaurant, and empty nester housing as examples). However, it should be clear
                    that staff has no authority to invalidate this section of the Comprehensive Plan..

      Additional Comments

             If the City Council is concerned with the answers above or the status of the
             Comprehensive Plan, here is what I see objectively as the options:

                    1. Maintain and apply plan While elements of the plan may be out of date or
                       not enjoy the consensus of all involved, our current track is to use the plan to
                       direct development to the best of our ability. As stated above and discussed
                       further below, the degree to which we are proactive in advancing some of the
                       Plan's ideas is a point for consideration: It is likely that sometime after the
                       Visioning Process is completed, a plan update would be in order.


                    2. Repeal all sections related to UMCII or sections that are points of
                       disai07eement A Comprehensive Plan does not have to speak to a specific
                       site or address all issues of land. use concern. This makes guidance for staff,
                       developers and the community less detailed; and more unclear and
                       challenging to apply. However, it may increase flexibility for MPC and
                       Council to determine what is best.


                    3. Amend the section This option involves amending, adjusting or deleting
                       sections that are at the heart of objections to previous proposals. For example,
                       there are specific density references of 6 to 14 dwelling units per acre for the
                       "Neighborhood Core" section. There are also height references up to 4 or 5
                       stories. on High Street. Reduction or elimination of some of this language and


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                                                                                               Worthington 058365
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          Memorandum to City Council
          January 31, 2020

                       these numbers may make the plan less specific and, therefore, provide more
                       flexibility for the MPeand Council to determine what is best.


                   4. Re-write and replace section - I do not think replacement could be clone
                       quickly, given that getting people to commit to interim dispute resolution or
                       consensus building processes on this issue has been elusive. I expect coming
                       up with fresh new language that enjoys agreement may face the same
                       challenge. However, an attempt at this is always a conceptual option.


                   5. Housing moratorium until plan or regulation re-write The Council has the
                      authority to place a moratorium fOr a reasonable period on certain zoning
                      classifications, types .ofbuildine activity or uses. Moratoriums need to be
                      based on advancing a legitimate government interest. When a city does this, it
                      abridges property owners' rights to pursue development. It needs to be time
                      limited. with a commitment to specific planning action being taken during that
                      time. It is conceivable that a moratorium on multi-family housing could be
                      put in place, but it may be difficult to complete the Visioning process and
                      create new Comprehensive Plan language that enjoys support within a.
                      constitutionally reasonable timeline.
           Lastly, I think it will be important for the Council to discuss, possibly at the retreat; what
           role it wants the staff to play. In addition to providing a technical review as I have
           described above, staff often works to help steer developments towards desirable
           community outcomes. This is most easily achieved when our goals are clearly
           discernable. Examples include using tax increment financing (TIFs) for beneficial public
           infrastructure and tax abatements or income tax incentives to encourage office or other
           income producing activities. Council has in recent years discouraged staff from
           proactively working with LC (or Steiner); appetite for using alternative resolutiOn
           processes has been limited.

          If IX_ indeed plans to submit a proposal for development, it will be imperative that
          Council provide clear direction. The Comprehensive Plan recommends we pursue a
          public-private partnership to best achieve the goals of the plan.. Do we want to
          proactively negotiate to try to shape the project to meet more of the expectations of the
          community and Council? Which elements or expectations are most critical to
          emphasize? What role do you want staff to play in these efforts? What does success
          look like in such endeavors? These are questions I believe should be discussed at the-
          retreat or earlier.




                                                     3



                                                                                                 Worthington 058366
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                                                             .AtAttatirn

                                         Office of the City Manager

                                           MEMORANDUM

     TO:             City Council
                                               /lb-      m4_1               ....,
     FROM:           Matt Greeson, City Manager i;  t7 .k.-/ • '

     DATE:           January 22, 2019

     SUBJECT:        EXPLORATORY WORKING PAPER — COST TO SERVE ANALYSIS FOR
                     THE UMCH PROPERTY


     In 2018, City Council asked the staff to evaluate the cost to provide City services to the UMCH
     property under various redevelopment scenarios. Five scenarios were drafted — three of which
     were hypothetical scenarios developed by staff, an additional hypothetical scenario was based on
     the white paper issued by WARD in January 2018, and th.e fifth scenario was based on the
     2015/2016 proposal from Lifestyle Communities. Based on City Council feedback, the fifth
     scenario was eliminated from the analysis.

     Attached is an exploratory working paper that evaluates the cost to provide City services and the
     revenue that is projected to be collected under the four scenarios. At this point, the evaluation
     does not include the cost to acquire and/or develop the parkland proposed under each scenario.
     The evaluation also does not include the cost to acquire any other part of the site for other purposes.

    There are limitations to this analysis since it is based on hypothetical scenarios without concrete
    details. This analysis is an evaluation of the incremental cost to provide services, not a full
    allocation of the cost of City services. There are many assumptions made the in report. A change
    in the assumptions would impact the results of the evaluation. For these reasons, I believe this
    paper should be used for purposes of general knowledge, however I caution against expectations
    that the information will prove exactly accurate when an actual redevelopment occurs. It is
    unlikely an actual redevelopment will match the hypothetical details in any of the scenarios.

    Assistant City Manager Robyn Stewart managed the development of this exploratory working
    paper. Please let me or her know if you have questions or would like additional information about
    the paper.


                                                            EXHIBIT

                                                              32_                                   Worthington 126963
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                                      Exploratory Working Paper

       Evaluation of the Cost to Serve the UMCH Property Under Various Hypothetical
                                    Development Scenarios

                                              January 22, 2019



     INTRODUCTION

     City staff were asked by City Council to evaluate the cost to provide City services to a
     redeveloped UMCH property along with the revenue that would be received by the City from the
     property. Staff were asked to consider a variety of scenarios to give insight into the impact of
     various types of land use. Staff originally developed five hypothetical scenarios. The first three
     scenarios were developed by staff to evaluate the impact of various mixes of land uses on the
     site. The fourth scenario is intended to align with the proposal generally described by the
     Worthington Alliance for Responsible Development (WARD) in a white paper issued in January
     2018. A fifth scenario reflected the proposal by Lifestyle Communities in 2015 and 2016. The
     five scenarios were shared with City Council to gather input on the various options presented in
     the scenarios. Based on City Council feedback, the fifth scenario was eliminated from the
     analysis since it did not have City Council or community support, thus it was deemed not worth
     the staff time to evaluate it.

     The four scenarios presented in this evaluation are hypothetical and as a result, do not have much
     specificity or many details associated with them. Staff needed to decide a number of
     assumptions for each scenario in order to project expenses and revenue. The assumptions are
     detailed for each scenario in this report. Arguments can be made to change the assumptions and
     those changes would likely impact the amounts included in this report.

     This is not a proportional allocation of the City's cost to provide services, rather it simply
     evaluates each service area and determines whether there would be additional costs (e.g.
     additional staff, contract services, supplies) required to serve the development. These costs are
     very rough estimates and were developed by each department based on their sense of how their
     service areas would be impacted, utilizing the assumptions that were made. The cost to serve
     the various scenarios does not include the cost to acquire and develop the park component.
     The costs are based more on intuition than a thorough analysis and breakdown of all the costs
     associated with each service and how much should be allocated to each land use type. The cost
     to serve and revenue generated from an actual re-development of the site will likely differ from
     the amounts reflected in this working paper since it is unlikely any of the hypothetical scenarios
     will exactly match the actual re-development.




                                                                                               Worthington 126964
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     SCENARIOS

     Scenario I: Primarily Park & Office

     Park — 15 acres
     Office — 15 acres - 300,000 sf
     Residential (multi-family) — 3 acres at 20 units/acre — 60 units
     Residential (single family) — 2 acres at 3 units/acre — 6 houses
     Retail — 2 acres — 20,000 sf

     Under Scenario 1, the park land is 15 acres, comprised of a multi-use trail and a three-season
     building with restrooms and a natural play area. The office space covers 15 acres with three
     stories in height, multiple tenants and a mix of employment types. The office space and retail
     space would likely need to include some structured parking. The single-family residential lots
     are anticipated to be a total of two acres with frontage on Longfellow Avenue. The multi-family
     housing would be a total of three acres, at a density of about 20 units per acre, which would
     result in about 60 units, served by private roadways. The retail use would cover about two acres
     and is anticipated to be about 20,000 square feet of space.

     Wesley Boulevard is anticipated to be converted to a public street, driven by the need to serve
     the park. Private roadways to serve the office, retail and/or multi-family residential may connect
     to 'Wesley Boulevard. Public utilities are expected along the public and private streets. Based on
     these assumptions, the following infrastructure would be involved in this scenario:

                    Total Public Roadway                          700 LF
                    Total Private Roadway                       5,000 LF
                    Public Sanitary Sewer                       5,700 LF
                    Public Water Service                        5,700 LF
                    Public Storm Sewer                          5,700 LF

     Scenario 2: Blend of Office, Park & Residential

     Park — 10 acres
     Office — 15 acres — 300,000 sf
     Residential (multi-family) — 5 acres at 20 units/acre — 100 units
     Residential (empty nester) — 3 acres at 6 units/acre — 18 units
     Residential (single family) — 2 acres at 3 units/acre — 6 houses
     Retail — 2 acres — 20,000 sf


                                                      2




                                                                                              Worthington 126965
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     Under Scenario 2, the park land is 10 acres comprised of a multi-use trail and a three-season
     building with restrooms. The office space covers 15 acres with three stories in height, multiple
     tenants and a mix of employment types. The office space and retail space would likely need to
     include some structured parking. The single-family residential lots are anticipated to be a total of
     two acres with frontage on Longfellow Avenue. The multi-family housing would be a total of
     five acres, at a density of 20 units per acre, which would result in about 100 units, served by
     private roadways. The empty nester residential housing would be a total of three acres at a
     density of about six units per acre, which would result in about 18 units, served by private
     roadways. The retail use would cover about two acres and is anticipated to be about 20,000
     square feet of space.

     Wesley Boulevard is anticipated to be converted to a public street, driven by the need to serve
     the park. Private roadways to serve the office, retail and/or multi-family residential may connect
     to Wesley Boulevard. Public utilities are expected along the public and private streets. Based on
     these assumptions, the following infrastructure would be involved in this scenario:



                    Total Public Roadway                         700 LF
                    Total Private Roadway                      4,000 LF
                    Public Sanitary Sewer                      4,700 LF
                    Public Water Service                       4,700 LF
                    Public Stonn Sewer                         4,700 LF

     Scenario 3: Primarily Office

     Park — 8 acres
     Office — 20 acres — 400,000 sf
     Residential (multi-family) — 5 acres at 20 units/acre — 100 units
     Residential (single family) — 2 acres at 3 units/acre — 6 houses
     Retail — 2 acres — 20,000 sf

     Under Scenario 3, the park land is eight acres and comprised of a three-season building with
     restrooms and a multi-use trail. The office space covers 20 acres and is anticipated to be three or
     four stories in height with multiple tenants and a mix of employment types. The office space and
     retail space would likely need to include some structured parking, though some surface parking
     may be warranted. The single-family residential lots are anticipated to be a total of two acres
     with frontage on Longfellow Avenue. The multi-family housing would be five acres, at a
     density of 20 units per acre, which would result in about 100 units, served by private roadways.



                                                      3




                                                                                                Worthington 126966
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     The retail use would cover about two acres and is anticipated to be about 20,000 square feet of
     space.

     Wesley Boulevard is anticipated to be converted to a public street, driven by the need to serve
     the park. Private roadways to serve the office, retail and/or multi-family residential may connect
     to Wesley Boulevard. Public utilities are expected along the public and private streets. Based on
     these assumptions, the following infrastructure would be involved in this scenario:

                    Total Public Roadway                          700 LF
                    Total Private Roadway                       3,000 LF
                    Public Sanitary Sewer                       3,700 LF
                    Public Water Service                        3,700 LF
                    Public Storm Sewer                          3,700 LF

     Scenario 4: Primarily Park (WARD Proposal)

     Park — 25.5 acres
     Office — 6.5 acres — 130,000 sf
     Residential (empty nester) — 3 acres at 6 units/acre — 18 units
     Residential (single family) — 2 acres at 3 units/acre — 6 houses

     Under Scenario 4, the park land is 25.5 acres and comprised of a multi-use trail, a three-season
     building with restrooms and a splash pad/ice rink. The office space covers six and a half acres
     and is anticipated to be three stories in height with one to three tenants and a mix of employment
     types. The office space and retail space would have surface, not structured, parking. The single-
     family residential lots are anticipated to be a total of two acres and front on Longfellow Avenue.
     The empty nester housing would total three acres at a density of six units per acre, thus total 18
     units, served by private roadways. There is no multi-family residential or retail in this scenario.

     Wesley Boulevard is anticipated to be converted to a public street, driven by the need to serve
     the park. Private roadways to serve the office and/or empty nester housing may connect to
     Wesley Boulevard. Public utilities are expected along the public and private streets. Based on
     these assumptions, the following infrastructure would be involved in this scenario:

                    Total Public Roadway                         700 LF
                    Total Private Roadway                      2,000 LF
                    Public Sanitary Sewer                      2,700 LF
                    Public Water Service                       2,700 LF
                    Public Storm Sewer                         2,700 LF




                                                      4




                                                                                                Worthington 126967
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     Summary of Scenarios with Assumptions
                              Scenario 1            Scenario 2        Scenario 3        Scenario 4

                              15 acres              10 acres          8 acres           25.5 acres
               Park                                                                     Trail, 3-season
                              Trail, 3-season       Trail, 3-season   Trail, 3-season
                                                                                        building, splash
                              building, play area   building          building
                                                                                        pad/ice rink
                              15 acres              15 acres          20 acres          6.5 acres
               Office
                              300,000 sf            300,000 sf        400,000 sf        130,000 sf
               Residential:
                              3 acres               5 acres           5 acres
               Multi-
                              60 units              100 units         100 units
               Family
               Residential:
                                                    3 acres                             3 acres
               Empty
                                                    18 units                            18 units
               Nester

               Residential:
                              2 acres               2 acres           2 acres           2 acres
               Single-
                              6 houses              6 houses          6 houses          6 houses
               Family

                              2 acres               2 acres           2 acres
               Retail
                              20,000 sf             20,000 sf         20,000 sf
               Structured     Yes                   Yes               Yes
                                                                                        No
               Parking        900 spaces            900 spaces        1,200 spaces

               Public
                              700 LF                700 LF            700 LF            700 LF
               Roadway

              Private         5,000 LF
                                                    4,000 LF          3,000 LF          2,000 LF
              Roadway

              Public
              Sanitary        5,700 LF              4,700 LF          3,700 LF          2,700 LF
              Sewer

              Public
                              5,700 LF              4,700 LF          3,700 LF          2,700 LF
              Water
              Public
              Storm           5,700 LF              4,700 LF          3,700 LF          2,700 LF
              Sewer




     PROJECTED EXPENDITURES

     This section includes projections for additional expenditures associated with the City services
     that would be provided to any new development on the site. As was stated in the introduction,
     this is not a proportional allocation of the City's cost to provide services, rather it simply
     evaluates each service area and determines whether there would be additional costs (e.g.
     additional staff, contract services, supplies) required to serve the development. These costs are

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                                                                                                           Worthington 126968
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     very rough estimates and were developed by each department based on their sense of how their
     service areas would be impacted. They're based more on intuition than a thorough analysis and
     breakdown of all the costs associated with each service and how much should be allocated to
     each land use type. If a more thorough analysis that results in more accurate numbers is desired,
     the City should consider a contract with a consultant with expertise in this area. The cost of such
     consulting services is anticipated to be in the range of $35,000 - $50,000 and would likely take
     about four months to complete.

     There are two types of expenditures related to new development. One type is associated with the
     initial development. These typically involve plan review and inspection during construction.
     The costs are incurred over a relatively short timeframe and do not carry forward after
     construction is completed. These one-time costs do not include costs associated with land
     acquisition and development of park space. The second type are costs incurred long term to
     provide ongoing services. Examples of this type of expenditures relate to police and fire
     protection, emergency medical response, trash collection and infrastructure maintenance.

     In this section, expenditures are evaluated department by department. Some departments do not
     anticipate the need for additional funding; the additional service area would simply be absorbed
     into their current service provision. Longer turn-around times may occur but are not anticipated
     to be at the level that require additional financial resources. These areas are noted in this section.

     Some impacts are the same across all of the scenarios and they will be described first.
     Additional impacts associated with each individual scenario will be described following the
     universal impacts section. The scenario-specific impacts will primarily affect Fire & EMS,
     Planning & Building, Parks Maintenance activities and the Service & Engineering Department.

     Projected Service Impacts Across All Scenarios (Universal Impacts)

     Fire & EMS:                In the Fire & EMS Division, redevelopment of the site will have the
                                most impact on fire prevention activities which are primarily focused
                                on inspection of commercial buildings. There is one person dedicated
                                full time to these activities and he is kept very busy with the current
                                number of commercial buildings. Staffing for this function was
                                reduced several years ago during the recession, resulting in a lack of
                                excess capacity for fire prevention activities. The Division has asked
                                for additional personnel in either a full-time or part-time capacity to
                                assist with fire prevention activities, but such request has not been able
                                to be funded to date. The addition of commercial space under each of
                                these scenarios is expected to place even greater strain on the
                                prevention function. Some of the scenarios have sufficient new


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                           commercial space to result in the need to add a part-time fire
                           prevention position for 20 hours per week.

                           The new land uses are anticipated to impact the emergency response
                           activities of this division, although those impacts are not easy to
                           quantify. The Division responds to a high volume of calls currently,
                           particularly in the emergency medical area. This volume is expected
                           to increase with the planned construction of the Kemper House
                           memory care facility in Worthington and a new assisted living facility
                           in Sharon Township as both of these types of facilities traditionally
                           result in higher than average calls for emergency medical support. The
                           addition of more new development at the UMCH site would be
                           expected to increase demand also, although perhaps at a slower rate
                           than if any of the scenarios involved senior living, especially targeted
                           for those who struggle to live independently. The specific impacts of
                           development at the UMCH site are difficult to quantify, thus this
                           report does not note any specific increases in the cost for fire and EMS
                           response. The situation is influenced by the automatic aid
                           arrangement between the City of Worthington and the City of
                           Columbus in which the closest unit responds to the emergency. This
                           results in Columbus responding to emergencies in Worthington and
                           vice versa. If Worthington is already tied up on emergency runs, then
                           Columbus units respond.

     General Government:   General Government consists of the administrative support areas of
                           City Council, City Clerk, City Manager's Office, Communications,
                           Personnel, Finance, Law, Information Technology, and Economic
                           Development. Redevelopment of the site, regardless of scenario, is
                           not anticipated to noticeably impact these areas and can be absorbed
                           within the current resources allocated in this area.

     Mayor's Court         Mayor's Court activity is driven primarily by traffic and parking
                           violations and occasionally other violations of City Code provisions
                           such as property maintenance concerns. Redevelopment of this site is
                           not anticipated to impact Mayor's Court in any noticeable way.

     Parks & Recreation:   Staff does not anticipate any noticeable impacts at the Community
                           Center and Griswold Center. Additional users of the Community
                           Center and Griswold Center that result from this redevelopment are



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                              anticipated to be able to be absorbed by these facilities and their
                              programs.

                              The Parks Maintenance Division is expected to feel the impact of any
                              additional park space. The larger and more developed the park space,
                              the greater the impact. The Parks staff have already absorbed new
                              parkland in recent years without additional staff or funding. Any
                              excess capacity that may have previously existed has already been
                              absorbed.

     Planning & Building:     The primary impact to the Department of Planning & Building of any
                              development scenario will be during the planning, design and
                              construction phases as the developer applies for architectural approval
                              and building permits and during construction when the City will have
                              inspection responsibilities. Since Worthington is a small, mostly built-
                              out community, this Department has a small number of staff members.
                              Staff time and expertise will need to be supplemented by consultants
                              in the areas of traffic engineering, stormwater review and streetscaping
                              requirements. The amount of time needed for review is similar across
                              the four scenarios. Staff anticipates an additional $15,000 per year
                              will be required for this consulting assistance for an estimated three-
                              year period during the application review stage. Staff does not
                              anticipate a need for consulting assistance in the building permit area,
                              however timelines for review of all building projects can be expected
                              to get longer during heavy review times for this development.

     Police:                  Redevelopment of this site is not anticipated to result in additional
                              expenditures in the Police Division. Depending on the specific type of
                              businesses, retail establishments and residential development, there
                              may be more police responses, which could impact responses times to
                              other calls, however they are not anticipated to rise to the level of
                              needing more officers.

     Service & Engineering:   The Service & Engineering Department will have impacts during the
                              planning, design and construction phases of each of the scenarios,
                              primarily related to stormwater analysis and site engineering estimated
                              at $70,000. For each of the scenarios, Wesley Boulevard is converted
                              to a public street which is anticipated to involve a complete re-build of
                              the street with sidewalks and curb ramps. The estimated cost for this
                              street work is $275,000, which is expected to be paid by the developer.


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                             The City would have consultant costs associated with review of the
                             plans and inspection during construction. Those costs are estimated at
                             $40,000.

     One-Time:     Planning & Building Consulting Fees                    $45,000
                   Stormwater & Site Engineering Consulting Fees           70,000
                   Wesley Blvd. Plan Review & Inspection                   40 000
                                                                         $155,000


     Scenario 1: Primarily Park & Office - Expenditures

     Fire & EMS:             The addition of commercial space under this scenario is expected to
                             result in the need to add a part-time fire prevention position for 20
                             hours per week. The cost of this part-time prevention person is
                             estimated at $32,000.

     Parks & Recreation:     The addition of 15 acres of park land is anticipated to impact the parks
                             maintenance activities. The Parks staff have already absorbed new
                             parkland in recent years without additional staff or funding. Any
                             excess capacity that may have previously existed has already been
                             absorbed. The additional park acreage in this scenario and the
                             associated uses identified for the park would result in the need to hire
                             an additional staff member assigned to parks maintenance. The
                             estimated annual cost for a top step Parks Maintenance Technician is
                             $107,000.

                            In addition to the staffing impact, the Department is expected to need
                            additional supplies such as trash bags, cleaning supplies, lawn care,
                            landscaping and salt for walkways. Additional supplies under this
                            scenario are estimated at $17,000. As with all of the City's parks, there
                            are expected to be periodic capital projects that invest in the park
                            space, particularly with a shelter and a play area. The cost of capital
                            projects is estimated to average about $7,500 per year.

     Planning & Building:   One of the fees the City applies to development is a public area fee
                            which supports parks and recreation activities. This fee is collected
                            from the applicant (developer) and placed in a designated fund that is
                            dedicated to the authorized activities. The amount must be matched by



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                              the City. Scenario 1 is projected to collect $50,000 in public area fees,
                              which is the same amount of the City's required match.

     Service & Engineering:   The Service & Engineering Department will have impacts associated
                              with Scenario 1 during the design and construction phases as well as
                              ongoing costs to maintain the infrastructure and serve the
                              development. The impacts associated with the design and construction
                              phases are related to the design and construction of infrastructure.
                              Under Scenario 1, there is estimated to be 5,700 LF of new public
                              sanitary sewer, water, and stonn sewer lines. While the developer is
                              anticipated to pay for the design and construction of this infrastructure,
                              the City will contract for assistance with reviewing the plans and
                              inspecting the work since the City will assume ownership after
                              construction. The cost for this assistance is estimated at $225,000.

                              The Service & Engineering Department provides ongoing services to
                              the community, including solid waste collection, leaf pick up, snow
                              removal, and maintenance of streets, curbs, sanitary sewers, water
                              lines and storm sewers. The construction of Scenario 1 is estimated to
                              cost the City $7,000 per year for these services.

     One-Time:     Infrastructure Consulting Fees              $225,000
                   Public Area Fees                              50.000
                                                               $275,000

     Annual:       Fire Prevention                              $32,000
                   Parks Capital Investment                       7,500
                   Parks Maintenance Technician                 107,000
                   Parks Supplies                                17,000
                   Service & Engineering Services                 7,000
                                                               $170,500



     Scenario 2: Blend of Office, Park & Residential - Expenditures

     Fire & EMS:              As noted in Scenario 1, the addition of commercial space under this
                              scenario would result in the need to add a part-time fire prevention
                              position for 20 hours per week. The cost of this part-time prevention
                              person is estimated at $32,000.



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     Parks & Recreation:      The addition of 10 acres of park land is anticipated to impact the parks
                              maintenance activities. Although this scenario adds only ten acres of
                              park space, the additional park acreage in this scenario and the
                              associated uses identified for the park would result in the need for
                              additional staff time in parks maintenance. Ideally a Parks
                              Maintenance Technician would be added at a cost of $107,000.
                              However, since only ten acres is being added to the parks system, this
                              service area may be able to manage the additional space through
                              additional contract assistance, which is estimated to cost $75,000
                              annually. Parks staff will continue to be very stretched, so while the
                              contract option is not ideal, it is included in this scenario in recognition
                              that only ten acres is added to the parks system.

                              Additional supplies for Parks Maintenance under this scenario are
                              estimated at $11,250. Periodic capital projects that invest in the park
                              space are estimated to average about $5,000 per year.

     Planning & Building:     Scenario 2 is projected to collect $65,000 in public area fees, which is
                              the same amount of the City's required match.

     Service & Engineering:   Under Scenario 2, there is estimated to be 4,700 LF of new public
                              sanitary sewer, water, and storm sewer lines. While the developer is
                              anticipated to pay for the design and construction of this infrastructure,
                              the City will contract for assistance with reviewing the plans and
                              inspecting the work since the City will assume ownership after
                              construction. The cost for this assistance is estimated at $200,000.

                              Scenario 2 is estimated to cost the City $9,000 per year for the ongoing
                              services provided by Service & Engineering.

     One-Time:    Infrastructure Consulting Fees               $200,000
                  Public Area Fees                               65,000
                                                               $265,000

     Annual:      Fire Prevention                               $32,000
                  Parks Capital Investment                        5,000
                  Parks Maintenance Contract Assistance          75,000
                  Parks Supplies                                 11,250
                  Service & Engineering Services                  9,000
                                                               $132,250


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     Scenario 3: Primarily Office - Expenditures

     Fire & EMS:              As noted in Scenarios 1 and 2, the addition of commercial space under
                              this scenario is expected to place even greater strain and the prevention
                              function and would result in the need to add a part-time fire prevention
                              position for 20 hours per week. The cost of this part-time prevention
                              person is estimated at $32,000.

     Parks & Recreation:      The addition of eight acres of park land is anticipated to impact the
                              parks maintenance activities. Although this scenario adds only eight
                              acres of park space, the additional park acreage in this scenario and the
                              associated uses identified for the park would result in the need for
                              additional staff time in parks maintenance. Ideally a Parks
                              Maintenance Technician would be added at a cost of $107,000.
                              However, since only eight acres is being added to the parks system,
                              this service area may be able to manage the additional space through
                              additional contract assistance, which is estimated to cost $60,000
                              annually. Parks staff will continue to be very stretched, so while the
                              contract option is not ideal, it is included in this scenario in recognition
                              that only eight acres is added to the parks system.

                              Additional supplies for Parks Maintenance under this scenario are
                              estimated at $9,000. Periodic capital projects that invest in the park
                              space are estimated to average about $4,000 per year.

     Planning & Building:     Scenario 3 is projected to collect $70,000 in public area fees, which is
                              the same amount of the City's required match.

     Service & Engineering:   Under Scenario 3, there is estimated to be 3,700 LF of new public
                              sanitary sewer, water, and storm sewer lines. While the developer is
                              anticipated to pay for the design and construction of this infrastructure,
                              the City will contract for assistance with reviewing the plans and
                              inspecting the work since the City will assume ownership after
                              construction. The cost for this assistance is estimated at $150,000.

                              Scenario 3 is estimated to cost the City $11,000 per year for the
                              ongoing services provided by Service & Engineering.




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     One-Time:     Engineering Consulting Fees                  $150,000
                   Public Area Fees                               70,000
                                                                $220,000

     Annual:       Fire Prevention                              $32,000
                   Parks Capital Investment                       4,000
                   Parks Maintenance Contract Assistance         60,000
                   Parks Supplies                                 9,000
                   Service & Engineering Services                11,000
                                                               $116,000



     Scenario 4: Primarily Park (WARD Proposal) - Expenditures

     Fire & EMS:              There is more limited commercial space under this scenario, so unlike
                              Scenarios 1, 2 and 3, this scenario is not expected to require a part-
                              time fire prevention position.

     Parks & Recreation:      The addition of 25.5 acres of park land is anticipated to impact the
                              parks maintenance activities. The additional park acreage in this
                              scenario and the associated uses identified for the park would result in
                              the need to hire an additional staff member assigned to parks
                              maintenance. The estimated annual cost for a top step Parks
                              Maintenance Technician is $107,000. If different uses are constructed
                              in the park, then the ongoing costs for operation and maintenance may
                              vary. More intensive uses would cost more to operate and maintain.

                              Additional supplies for Parks Maintenance under this scenario are
                              estimated at $30,000. Periodic capital projects that invest in the park
                              space are estimated to average about $12,750 per year.

     Planning & Building:     Scenario 4 is projected to collect $20,000 in public area fees, which is
                              the same amount of the City's required match.

     Service & Engineering:   Under Scenario 4, there is estimated to be 2,700 LF of new public
                              sanitary sewer, water, and storm sewer lines. While the developer is
                              anticipated to pay for the design and construction of this infrastructure,
                              the City will contract for assistance with reviewing the plans and
                              inspecting the work since the City will assume ownership after
                              construction. The cost for this assistance is estimated at $125,000.


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                            Scenario 4 is estimated to cost the City $6,000 per year for the ongoing
                            services provided by Service & Engineering.

     One-Time:   Infrastructure Consulting Fees             $125,000
                 Public Area Fees                             20,000
                                                            $145,000

     Annual:     Parks Capital Investment                    $12,750
                 Parks Maintenance Technician                107,000
                 Parks Supplies                               30,000
                 Service & Engineering Services                6,000
                                                            $155,750




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     Summary of Expenditure Projections


                                          Scenario 1       Scenario 2     Scenario 3     Scenario 4

              One-Time:
                  Storrnwater & Site
                  Engineering                   $70,000         $70,000        $70,000        $70,000
                  Consulting Fees
                  Wesley Blvd. Plan
                                                 40,000          40,000         40,000         40,000
                  Review &. Inspection


                  Planning & Building
                                                 45,000          45,000         45,000         45,000
                  Consulting Fees


                  Infrastructure
                                                225,000         200,000        150,000        125,000
                  Consulting Fees


                  Public Area Fees               50,000          65,000         70,000         20,000


                  Total                        $430,000        5420,000       S375,000       $300,000


              Annual:


                  Fire Prevention                32,000          32,000         32,000

                  Parks Capital
                                                  7,500           5,000          4,000         1/,
                                                                                                _ 750
                  Investment

                  Parks Maintenance
                  Technician/Contract           107,000          75,000         60,000        107,000
                  Assistance

                  Parks Supplies                 17,000          11,250          9,000         30,000

                  Service & Engineering
                                                  7,000           9,000         11,000          6,000
                  Services


                  Total                       $170,500         5132,250      5116,000        $155,750



     Note: These costs do not include the land acquisition and/or the development costs of the parkland.




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     PROJECTED REVENUE

     This section includes projections for the new revenue that would be received by the City under
     each of the four scenarios. Two revenue sources, income tax and property tax, would be annual,
     ongoing revenue streams, with income tax comprising the largest source of funding. The City
     levies a 2.5% income tax and five (5) mills of property tax. For the purposes of this analysis, the
     City inquired into the land value of the UMCH site with the Franklin County Auditor's office.
     They indicated that while the property is current tax exempt, they have valued the land at
     $6,263,000. The current value of the buildings is excluded from this analysis since the buildings
     are anticipated to be demolished as part of any redevelopment. The land value is assumed to be
     the base value under any abatement/tax increment financing component considered as part of
     these scenarios. Parkland would be tax exempt, so the percentage of the land allocated to park in
     each scenario is removed from the land value.

     The City also assesses fees on development which are paid when the development is occurring.
     Since these are tied to development applications, they are one-time fees and are not recurring.
     The permit fees relate to building and architectural review fees. In addition, a public area fee is
     charged which supports parks and recreation activities.

     The revenue estimates will be impacted if the City decides to offer economic development
     incentives to encourage redevelopment of the property. The City can utilize income tax-based or
     property tax-based incentives to attract jobs to the community or achieve other community
     objectives. The income-tax-based incentives involve grants to companies in consideration of
     new income tax collections that will come from new or retained jobs in Worthington. Property
     tax-based incentives can include tax abatements and/or tax increment financing (TIF). In those
     instances, a portion or all of the property taxes that would otherwise be paid on the increased
     value of the property are either not paid, in the case of an abatement, or are diverted to a special
     fund intended to benefit the development, in the case of a TIF. Taxes on the base land value
     would still be paid. Revenue projections that take into account potential development incentives
     are also included in this section.

     Scenario 1: Primarily Park & Office - Revenue

     Under Scenario 1, the office space is estimated to have up to 1,500 employees with an average
     annual salary of $50,000/year. This would generate an estimated $1,875,000 in annual payroll
     withholdings for the City. Private construction costs are estimated at $80,000,000 under this
     scenario, generating approximately $116,000/year for the improvements and $6,600 for the land
     in property tax revenues.



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     In considering the one-time fees, building permit fees are estimated at $165,000, architectural
     fees at $2,000, and public area fees at $50,000.

     Projected Revenue without Incentives

     One-Time:       Permit Fees                                  $167,000
                     Public Area Fees                               50,000
                                                                  $217,000

     Annual:         Income Tax Revenue                         $1,875,000
                     Property Tax Revenue                          122,600
                                                                $1,997,600

     In Scenario 1, income tax-based incentives could be offered in conjunction with the 300,000
     square feet of office to attract the 1,500 employees estimated in this scenario. If the incentive
     follows the City's historic pattern, grant(s) could be offered in the range of twenty percent of
     anticipated income tax collections over a seven-year period. This could equate to $2,800,000
     over a seven-year period, or $375,000 for the first annual amount.

     Property tax revenue could be impacted by any abatements or tax increment financing provided
     to encourage the development. The City has not historically offered property-tax based
     incentives for residential development, but it has for office and retail development. This type of
     incentive would likely be tied to the 17 acres of office and retail space.

     This scenario includes some structured parking to serve the office and retail spaces. Structured
     parking typically costs $30,000 per parking space. For the purposes of this scenario, we plan for
     60% of the projected employees to be accommodated by structured parking with the remaining
     40% utilizing surface parking. If structured parking is constructed to accommodate 60% of the
     1,500 projected employees, the cost for the parking would be $21,600,000. This cost would
     likely be funded by the developer primarily, but the City expects it would be asked to offset
     some of the cost of the parking structure, either through tax increment financing or a tax
     abatement, which would impact the revenue generated from the property.

     Given the structured parking component of this scenario, we are projecting 100% abatement or
     TIF for ten years for the purposes of this analysis. If all of the property tax collections associated
     with the increased values of the development were affected by the incentive, then property tax
     collections would be reduced to $6,600, which is the projected tax on the base value of the land.
     To provide significant funding for the structured parking, the City would likely be asked to
     include the Worthington Schools' millage in the TIF and/or abatement. If the Schools' millage is
     included, the City would likely need to share income tax revenues with the Schools. The most


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      common agreement is the sharing of 50% of income tax revenue. Under this situation, the City's
      income tax revenue would be cut in half during the ten years of the incentive.

     Projected Revenue with Incentives

     One-Time:      Permit Fees                                 $167,000
                    Public Area Fees                              50,000
                                                                $217,000

     Annual:        Income Tax Revenue                          $562,500
                    Property Tax Revenue                           6,600
                                                                $569,100

     Scenario 2: Blend of Office, Park & Residential — Revenue

     The office is estimated to have up to 1,500 employees at the site with an average annual salary of
     $50,000/year. This would generate an estimated $1,875,000 in annual payroll withholdings for
     the City. Private construction costs are estimated at $140,000,000 under this scenario,
     generating approximately $203,000/year for the improvements and $8,000 for the land in
     property tax revenues.

     In considering one-time fees, building permit fees are estimated at $170,000, architectural fees at
     $5,000, and public area fees at $65,000.

     Projected Revenue without Incentives

     One-Time:      Permit Fees                                 $175,000
                    Public Area Fees                              65,000
                                                                $240,000

     Annual:        Income Tax Revenue                        $1,875,000
                    Property Tax Revenue                         211,000
                                                              $2,086,000

     Scenario 2 has the same amount of office, retail and structured parking as Scenario 1 so the
     incentive impact to income tax and property tax revenues is the same. This scenario has a smaller
     percentage of the site dedicated to parkland, so the amount of property taxes collected from the
     base land value is slightly higher than in Scenario 1.




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     Projected Revenue with Incentives

     One-Time:      Permit Fees                                 $175,000
                    Public Area Fees                              65,000
                                                                $240,000

     Annual:        Income Tax Revenue                          $562,500
                    Property Tax Revenue                           8,000
                                                                $570,500

     Scenario 3: Primarily Office - Revenue

     It is estimated there could be up to 2,000 employees at the site with an average annual salary of
     $50,000/year. This would generate an estimated $2,500,000 in annual payroll withholdings for
     the City. Private construction costs are estimated at $134,000,000 under this scenario,
     generating approximately $195,000/year for the improvements and $8,600 for the land in
     property tax revenues.

     In considering the one-time fees, building permit fees are estimated at $183,000, architectural
     fees at $2,000, and public area fees at $70,000.

     Projected Revenue without Incentives

     One-Time:      Permit Fees                                 $185,000
                    Public Area Fees                              70,000
                                                                $255,000

     Annual:        Income Tax Revenue                        $2,500,000
                    Property Tax Revenue                         203,600
                                                              $2,703,600



     Scenario 3 is similar to Scenarios 1 and 2 except it includes 100,000 square feet of additional
     office, bringing the total amount of office to 400,000 square feet. Income tax incentives
     associated with attracting jobs to the office space could equate to $3,700,000 over a seven-year
     period, or $500,000 for the first annual payment.

     Property tax revenue would be impacted by any abatements or tax increment financing provided
     to encourage the development. This type of incentive would likely be tied to the 20 acres of


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     office and retail space. Like Scenarios 1 & 2, this scenario has a structured parking component
     to serve the office and retail spaces. Using the same assumptions about structured parking as
     noted in Scenarios 1 and 2, structured parking constructed to accommodate 60% of the 2,000
     projected employees would cost $36,000,000. As was noted in those scenarios, this cost would
     likely be funded by the developer primarily, but the City expects it would be asked to offset
     some of the cost of the parking structure, either through tax increment financing or a tax
     abatement, which would impact the revenue generated from the property. Using the same
     assumptions in Scenarios 1 & 2, property tax collections would be reduced to $8,600 and the
     City would share 50% of income tax revenue with the Schools during the ten years of the
     incentive.

     Projected Revenue with Incentives

     One-Time:      Permit Fees                                 $185,000
                    Public Area Fees                              70,000
                                                                $255,000

     Annual:        Income Tax Revenue                          $750,000
                    Property Tax Revenue                           8,600
                                                                $758,600



     Scenario 4: Primarily Park (WARD Proposal) — Revenue

     It is estimated there could be up to 650 employees at the site with an average annual salary of
     $50,000/year. This would generate an estimated $812,000 in annual payroll withholdings for the
     City. Private construction costs are estimated at $44,000,000 under this scenario, generating
     approximately $64,000/year for the improvements and $3,400 for the land in property tax
     revenues.

     In considering one-time fees, building permit fees are estimated at $55,000, architectural fees at
     $3,500, and public area fees at $20,000.

     Projected Revenue without Incentives

     One-Time:      Permit Fees                                  $58,500
                    Public Area. Fees                             20,000
                                                                 $78,500




                                                     20




                                                                                                Worthington 126983
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     Annual:        Income Tax Revenue                          $812,000
                    Property Tax Revenue                          67,400
                                                                $879,400

     Incentives for Scenario 4 would likely only be tied to the 130,000 square feet of office space.
     Income tax incentives associated with attracting jobs to the office space could equate to
     $1,200,000 over a seven-year period, or $163,000 annually.

     Property tax revenue would be impacted by any abatements or tax increment financing provided
     to encourage the development. This type of incentive would likely be tied to the 6.5 acres of
     office space. Since this scenario does not include any structured parking, we will use the most
     common percentage of 75% for ten years. If all of the property tax collections associated with
     the development were affected by the 75%, then property tax collections would be reduced to
     $19,400. This incentive is not expected to include the Schools' levy, so there would be no need
     to share income tax revenue with the Schools.

     Projected Revenue with Incentives

     One-Time:      Permit Fees                                  $58,500
                    Public Area Fees                              20,000
                                                                 $78,500

     Annual:       Income Tax Revenue                          $649,000
                   Property Tax Revenue                          19,400
                                                               $668,400




                                                    21




                                                                                               Worthington 126984
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     Summary of Revenue Projections

                          Scenario 1              Scenario 2              Scenario 3              Scenario 4

        WITHOUT
        INCENTIVES

        One-time:

            Permit Fees                $167,000                $175,000                $185,000           $58,500

            Public Area
                                         50,000                  65,000                  70,000            20,000
            Fees

            Total                      $217,000                5240,000                5255,000           578,500

        Annual:

            Income Tax            $1,875,000              $1,875,000              $2,500,000            $812,000
            Property
                                       122,600                  211,000                 203,600            67,400
            Tax

            Total                 $1,997,600              52,086,000              52,703,600            5879,400

        WITH
        INCENTIVES

        One-time:

            Permit Fees            $167,000                    $175,000                $185,000          $58,500

            Public Area
                                        50,000                   65,000                  70,000           20,000
            Fees

            Total                  5217,000                    5240,000            5255,000              $78,500

        Annual:

            Income Tax             $562,500                    $562,500            $750,000             $649,000
            Property
                                         6,600                    8,000                  8,600            19,400
            Tax
            Total                  5569,100                   5570,500             5758,600             5668,400




     A summary of the expenditure and revenue projections for each scenario, looking out 25 years, is
     attached as Appendix A.




                                                         22




                                                                                                           Worthington 126985
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                                     Appendix A




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                                                                        Worthington 126986
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Scenario 1
                                                     Year 1       Year 2        Year 3        Year 7        Year 8       .    Year 10        Year 11        Year 18        Year 25
Expenditures
   Stormwater & Site Engineering Consulting
                                                       35,000       35,000               0             0             0                  0              0              0              0
   Fees
   Wesley Blvd. Plan Review & Insp.                    40,000              0             0             0             0                  0              0              0              0
   Infrastructure Consulting Fees                     112,500      112,500               0             0             0                  0              0              0              0
   Planning & Bldg Consulting Fees                     15,000       15,000        15,000               0             0                  0              0              0              0
   Public Area Fees                                    50,000              0             0             0             0                  0              0              0              0
   Fire Prevention                                     32,000       32,960        33,949         38,210        39,356           41,753         43,005         52,891         65,049
   Parks Capital Investment                             7,500        7,725          7,957         8,955         9,224             9,786        10,079         12,396         15,246
   Parks Maintenance Technician/Contract
                                                      107,000      110,210       113,516       127,764       131,597           139,611        143,799        176,855        217,509
   Assistance
   Parks Supplies                                      17,000       17,510        18,035         20,299        20,908           22,181          22,847        28,098         34,557
   Service & Engineering Services                       7,000        7,210          7,426         8,358         8,609             9,133          9,407        11,570         14,230

Total Expenditures                                   $423,000     $338,115      $195,883      $203,586      $209,693          $222,464       $229,138       $281,811       $346,591

Note: These costs do not include the land acquisition and/or the development costs of the parkland.


Revenue without Incentives
   Permit Fees                                        167,000              0             0             0             0                  0              0              0              0
   Public Area Fees                                    50,000              0             0             0             0                  0              0              0              0
   Income Tax                                        1,875,000    1,912,500     1,950,750     2,111,555     2,153,786         2,240,799      2,285,615      2,625,453      3,015,820
   Property Tax                                       122,600      125,665       128,807       142,178       145,733           153,111        156,938        186,550        221,750

Total Revenue without Incentives                $2,214,600       $2,038,165    $2,079,557    $2,253,733    $2,299,519        $2,393,909     $2,442,553     $2,812,003     $3,237,570

Revenue with Incentives
   Permit Fees                                        167,000              0             0             0             0                  0              0              0              0
   Public Area Fees                                    50,000              0             0             0             0                  0              0              0              0
   Income Tax                                         562,500      573,750       585,225       633,466      1,076,893         1,120,399      2,285,615      2,625,453      3,015,820
   Property Tax                                         6,600        6,765         6,934          7,654         7,845             8,242       156,938        186,550        221,750

Total Revenue with Incentives                        $786,100     $580,515      $592,159      $641,120     $1,084,738        $1,128,642     $2,442,553     $2,812,003     $3,237,570

Assumptions
   Expenditures will increase 3% annually
   Income tax revenues will increase 2% annually
   Property tax revenues will increase 2.5% annually
   Income tax incentive will end after seven years
   Property tax incentive will end after ten years


                                                                                                                                                                Worthington 126987
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Scenario 2
                                                     Year 1       Year 2        Year 3        Year 7        Year 8       .   Year 10       Year 11       . ..   Year 18        Year 25
Expenditures
   Stormwater & Site Engineering Consulting
                                                       35,000       35,000               0             0             0                 0             0                    0              0
   Fees
   Wesley Blvd. Plan Review & Insp.                    40,000              0             0             0             0                 0             0                    0              0
   Infrastructure Consulting Fees                     100,000      100,000               0             0             0                 0             0                    0              0
   Planning & Bldg Consulting Fees                     15,000       15,000        15,000               0             0                 0             0                    0              0
   Public Area Fees                                    65,000              0             0             0             0                 0             0                    0              0
   Fire Prevention                                     32,000       32,960        33,949        38,210        39,356            41,753        43,005               52,891         65,049
   Parks Capital Investment                             5,000        5,150         5,305          5,970        6,149             6,524         6,720                8,264         10,164
   Parks Maintenance Technician/Contract
                                                       75,000       77,250        79,568        89,554        92,241            97,858       100,794              123,964        152,460
   Assistance
   Parks Supplies                                      11,250       11,588        11,935        13,433        13,836            14,679        15,119               18,595         22,869
   Service & Engineering Services                       9,000        9,270         9,548        10,746        11,069            11,743        12,095               14,876         18,295

Total Expenditures                                   $387,250     $286,218      $155,304      $157,913      $162,651          $172,556      $177,733             $218,589       $268,837

Note: These costs do not include the land acquisition and/or the development costs of the parkland.


Revenue without Incentives
   Permit Fees                                        175,000              0             0             0             0                 0             0                    0              0
   Public Area Fees                                    50,750              0             0             0             0                 0             0                    0              0
   Income Tax                                        1,875,000    1,912,500     1,950,750     2,111,555     2,153,786         2,240,799     2,285,615            2,625,453      3,015,820
   Property Tax                                       211,000      216,275       221,682       244,695       250,813           263,510       270,098              321,061        381,641

Total Revenue without Incentives                $2,311,750       $2,128,775    $2,172,432    $2,356,250    $2,404,598        $2,504,309    $2,555,712           $2,946,514     $3,397,461


Revenue with Incentives
   Permit Fees                                        167,000              0             0             0             0                 0             0                    0              0
   Public Area Fees                                    65,000              0             0             0             0                 0             0                    0              0
   Income Tax                                         562,500      573,750       585,225       633,466      1,076,893         1,120,399     2,285,615            2,625,453      3,015,820
   Property Tax                                         8,000         8,200         8,405         9,278         9,509             9,991      270,098              321,061        381,641

Total Revenue with Incentives                        $802,500     $581,950      $593,630      $642,744     $1,086,402        $1,130,390    $2,555,712           $2,946,514     $3,397,461


Assumptions
   Expenditures will increase 3% annually
   Income tax revenues will increase 2% annually
   Property tax revenues will increase 2.5% annually
   Income tax incentive will end after seven years
   Property tax incentive will end after ten years


                                                                                                                                                                      Worthington 126988
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Scenario 3
                                                     Year 1       Year 2        Year 3        Year 7        Year 8       .   Year 10       Year 11       . ..   Year 18       . ..   Year 25
Expenditures
   Stormwater & Site Engineering Consulting
                                                       35,000       35,000               0             0             0                 0             0                    0                    0
   Fees
   Wesley Blvd. Plan Review & Insp.                    40,000              0             0             0             0                 0             0                    0                    0
   Infrastructure Consulting Fees                      75,000       75,000               0             0             0                 0             0                    0                    0
   Planning & Bldg Consulting Fees                     15,000       15,000        15,000               0             0                 0             0                    0                    0
   Public Area Fees                                    70,000              0             0             0             0                 0             0                    0                    0
   Fire Prevention                                     32,000       32,960        33,949        38,210        39,356            41,753        43,005               52,891               65,049
   Parks Capital Investment                             4,000        4,120         4,244          4,776        4,919             5,219         5,376                6,611                8,131
   Parks Maintenance Technician/Contract
                                                       60,000       61,800        63,654        71,643        73,792            78,286        80,635               99,171              121,968
   Assistance
   Parks Supplies                                       9,000        9,270         9,548        10,746        11,069            11,743        12,095               14,876               18,295
   Service & Engineering Services                      11,000       11,330        11,670        13,135        13,529            14,353        14,783               18,181               22,361

Total Expenditures                                   $351,000     $244,480      $138,064      $138,510      $142,665          $151,354      $155,894             $191,730             $235,804

Note: These costs do not include the land acquisition and/or the development costs of the parkland.


Revenue without Incentives
   Permit Fees                                        185,000              0             0             0             0                 0             0                    0                    0
   Public Area Fees                                    70,000              0             0             0             0                 0             0                    0                    0
   Income Tax                                        2,500,000    2,550,000     2,601,000     2,815,406     2,871,714         2,987,731     3,047,486            3,500,604            4,021,093
   Property Tax                                       203,600      208,690       213,907       236,114       242,016           254,269       260,625              309,801              368,257

Total Revenue without Incentives                $2,958,600       $2,758,690    $2,814,907    $3,051,520    $3,113,731        $3,242,000    $3,308,111           $3,810,405           $4,389,350


Revenue with Incentives
   Permit Fees                                        185,000              0             0             0             0                 0             0                    0                    0
   Public Area Fees                                    75,000              0             0             0             0                 0             0                    0                    0
   Income Tax                                         750,000      765,000       780,300       844,622      1,435,857         1,493,866     3,047,486            3,500,604            4,021,093
   Property Tax                                         8,600        8,815          9,035         9,973       10,223            10,740       260,625              309,801              368,257

Total Revenue with Incentives                   $1,018,600        $773,815      $789,335      $854,595     $1,446,080        $1,504,606    $3,308,111           $3,810,405           $4,389,350


Assumptions
   Expenditures will increase 3% annually
   Income tax revenues will increase 2% annually
   Property tax revenues will increase 2.5% annually
   Income tax incentive will end after seven years
   Property tax incentive will end after ten years


                                                                                                                                                                      Worthington 126989
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Scenario 4
                                                     Year 1       Year 2       Year 3         Year 7        Year 8       .    Year 10        Year 11       ...    Year 18       . .    Year 25
Expenditures
   Stormwater & Site Engineering Consulting
                                                       35,000       35,000              0              0             0                  0              0                    0                    0
   Fees
   Wesley Blvd. Plan Review & Insp.                    40,000              0            0              0             0                  0              0                    0                    0
   Infrastructure Consulting Fees                      62,500       62,500              0              0             0                  0              0                    0                    0
   Planning & Bldg Consulting Fees                     15,000       15,000       15,000                0             0                  0              0                    0                    0
   Public Area Fees                                    20,000              0            0              0             0                  0              0                    0                    0
   Fire Prevention                                            0            0            0              0             0                  0              0                    0                    0
   Parks Capital Investment                            12,500       12,875       13,261          14,926       15,373            16,310         16,799                20,661               25,410
   Parks Maintenance Technician/Contract
                                                      107,000      110,210      113,516        127,764       131,597           139,611        143,799              176, 855             217,509
   Assistance
   Parks Supplies                                      30,000       30,900       31,827          35,822       36,896            39,143         40,317               49,585                60,984
   Service & Engineering Services                       6,000        6,180        6,365           7,164         7,379             7,829          8,063                9,917               12,197

Total Expenditures                                   $328,000     $272,665     $179,970       $185,675      $191,245          $202,892       $208,979             $257,018             $316,099

Note: These costs do not include the land acquisition and/or the development costs of the parkland.


Revenue without Incentives
   Permit Fees                                         58,500              0            0              0             0                  0              0                    0                    0
   Public Area Fees                                    20,000              0            0              0             0                  0              0                    0                    0
   Income Tax                                         812,000      828,240      844,805        914,444       932,733           970,415        989,823             1,136,996            1,306,051
   Property Tax                                        67,400       69,085       70,812         78,163        80,117            84,173         86,278              102,557              121,908
Total Revenue without Incentives                     $957,900     $897,325     $915,617       $992,607     $1,012,850        $1,054,589     $1,076,101           $1,239,553           $1,427,959

Revenue with Incentives
   Permit Fees                                         58,500              0            0              0             0                  0              0                    0                    0
   Public Area Fees                                    20,000              0            0              0             0                  0              0                    0                    0
   Income Tax                                         649,600      662,592      675,844        731,555       932,733           970,415        989,823             1,136,996            1,306,051
   Property Tax                                        19,400       19,885       20,382         22,498        23,061            24,228         86,278              102,557              121,908

Total Revenue with Incentives                        $747,500     $682,477     $696,226       $754,053      $955,793          $994,643      $1,076,101           $1,239,553           $1,427,959

Assumptions
   Expenditures will increase 3% annually
   Income tax revenues will increase 2% annually
   Property tax revenues will increase 2.5% annually
   Income tax incentive will end after seven years
   Property tax incentive will end after ten years


                                                                                                                                                                      Worthington 126990
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Message

From:        Greeson, Matt [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
             (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=E02E0F169E0140A08552304F1CFBCF86-GREESON, MA]
Sent:        10/13/2020 1:25:39 PM
To:          Robinson, David [David.Robinson@worthington.org]
Subject:     RE: nature of UMCH comp plan update?
Attachments: Memorandum to City Council - 1-31-2020.pdf


David:

Thanks for following up on this. I thought we had follow up conversations that negated the need for a written response
and apologize if I misunderstood. At this point, I am not comfortable with being asked to characterize the
Comprehensive Plan as a whole or any section as anything other than the adopted policy document of the City Council. I
would be glad to provide the details of the process that was used to arrive at the recommendations to MPC and Council
and let it speak for itself. The memo I wrote in January speaks to the consensus issue on page 2 and I will let that
stand. I certainly may be misunderstanding what you are asking for and am willing to discuss it, but as a rule; City
Manager's should avoid making statements that exacerbate policy disagreements between Council members or may be
used to delegitimize the active policy of their elected body.


From: Robinson, David <David.Robinson@worthington.org>
Sent: Saturday, October 10, 2020 11:16 AM
To: Greeson, Matt <Matt.Greeson@worthington.org>
Subject: Fw: nature of UMCH comp plan update?

Matt, I don't believe this inquiry from a year ago (!) was ever addressed by you. Can you do so please? I know
this topic will come up in public conversation soon, and I think it would serve the interest of all to have clarity
in messaging from you. Thank you. David


From: Robinson, David
Sent: Thursday, October 24, 2019 12:57 PM
To: Greeson, Matt <Matt,Greeson(Wworthington.org>
Subject: nature of UMCH comp plan update?

Matt, could you please put in writing how one may describe the nature of the UMCH Comp Plan update
process (and final product)? You and I spoke about this a month ago or so and, partly in response to me
challenging the notion that the update is a "consensus" document (as the Comp Plan claims for itself), you said
things about the update plan being an "expert opinion" (or something like that) plan with the public serving as
a sounding board (or something like that). But I want to be precise in my language and not misquote you. I'm
thinking about this in relation to the Visioning Committee and the documents they will be
reviewing. Thanks. David




                                                           EXHIBIT
                                                     b
                                                             3-7                                     Worthington 058372
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                                       Office of the City Manager
     January 31, 2020


     TO:           Members of City Council
     FROM:         Matt GreeSon
                   City Manager

     SUBJECT:      Responses to questions posed by Council Member Robinson regarding status of
                   UMCH Comprehensive Plan Update
    On January 24, 2020; Council Member Robinson posed via email several important questions
    regarding the Comprehensive Plan as it relates to the United Methodist Children's Home
    (UMCH) property. The following are his questions along with my responses. I have also
    provided comments, an outline of options I believe are available to the City, and key questions
    that need to be answered. I hope this information is helpful and would be glad to address any
    additional questions that may arise.
    What, in your mind, is the current status of the UINICH Comp Plan Update? is it in full
    force, on par with the rest of the Comp Plan?

           When the City Council approved Resolution Number 2014-39, it amended the
           Comprehensive Plan, updating the existing section that discussed the UMCH property.
           Since then, no policy action. has been taken or legislation adopted by Council to suggest
           that one section of the Comprehensive Plan holds more or less "force" than another. Nor,
           can staff independently or arbitrarily decide such a thing.

           However, I do believe the City has some flexibility in. determining what elements of the
           Comprehensive Plan it proactively pursues or places emphasis on. I discuSs this further
           below.

    I think I remember Lee stating something along these lines at a council meeting last fall,
    that the Update is "current policy" or something to that effect. Or have the various
    statements from Council, usually made in the context of the Visioning Process, regarding
    the Comp Plan being at or near the end of its life (I can't remember the exact language
    from our resolution), sufficient to effectively negate its current relevance and standing?

           No. Until amended, replaced ot repealed by Council action, it remains a part of the
           adopted policy framework by which development is and -will be -reviewed.




                                                                                              Worthington 058373
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            Memorandum to City Council
            January 31, 2020

      Stated in practical terms, what will you and the rest of staff do if LC makes a proposal and
      cites the Comp Plan as a basis for justifying their proposal?

             Will you accept their proposition without qualification?

                    No. We will independently and objectively review any development proposal
                    applying the adopted policies, plans, regulations and practices in place, including
                    the Comprehensive Plan.
             Or will you claim that the Update is effectively no longer       force? Which is it? Or
             some other alternative?

                    We will certainly be open and clear with all involved that aspects of the plan do
                    not enjoy community or Council consensus; that community-engagement will be
                    critical to developing a proposal that is ultimately successful, and will encourage
                    focus on elements the Council deems desirable (maybe-park space, office, a
                    restaurant, and empty nester housing as examples). However, it should be clear
                    that staff has no authority to invalidate this section of the Comprehensive Plan.

      Additional Comments

             If the City Council is concerned with the answers above or the status of the
             Comprehensive Plan, here is what I see objectively as the options:

                    I   Maintain and apply plan While elements of the plan may be out of date or
                        not enjoy the consensus of all involved, our current track is to use the plan to
                        direct development to the best of our ability. As stated above and discussed
                        further below, the degree to which we are proactive in advancing some of the
                        Plan's ideas is a point for consideration. It is likely that sometime after the
                        Visioning Process is completed, a plan update would be in order.


                    2. Repeal all sections. related to UMCH or sections that are points of
                       disagreement — A Comprehensive Plan does not have to speak to a specific
                       site or address all issues of land use concern. This makes guidance for staff,
                       developers and the community less detailed; and more unclear and
                       challenging to apply. However, it may increase flexibility for MPC and
                       Council to determine what is best.


                    3. Amend the section This option involves. amending, adjusting or deleting
                       sections that are at the heart of objections to previous proposals. For example,
                       there are specific density references of 6 to 14 dwelling units per acre for the
                       "Neighborhood Core" section. There are also height references up to 4 or 5
                       stories on High Street. Reduction or elimination of some of this language and


                                                      2




                                                                                               Worthington 058374
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          Memorandum to City Council
          January 31, 2020

                      these numbers may make the plan less specific and, therefore, provide more
                      flexibility for the MPC and. Council to determine what is best.


                  4. Re-write and replace section - I do not think replacement could he done
                     quickly, given that getting people to commit to interim dispute resolution or
                     consensus building processes on this issue has been elusive. I expect coming
                     up with. fresh new language that enjoys agreement may face the same
                     challenge. However, an attempt at this is always a conceptual option.


                  5. Housing moratorium until plan or regulation re-write The Council has the
                     authority to plaCe a moratorium for a reasonable period on certain zoning
                     classifications, types .of building activity or uses. Moratoriums need to be
                     based on advancing a legitimate government interest. When a city does this, it
                     abridges property owners' rights to pursue development. It needs to be time
                     limited with a commitment to specific planning action being taken during that
                     time. It is conceivable that a moratorium on multi-family housing could be
                     put in place, hut it may be difficult to complete the Visioning process and
                     create new Comprehensive Plan language that enjoys support within a.
                     constitutionally reasonable timeline.
           Lastly, I think it will be important for the Council to discuss, possibly at the retreat, what
          role it wants the staff to play. In addition to providing a technical review as I have
          described above, staff often works to help steer developments towards desirable
          community outcomes. This is most easily achieved when our goals are clearly
          discernable. Examples include using tax increment financing (FIP's) for beneficial pUblic
          infrastructure- and tax abatements or income tax incentives to encourage office or other
          income producing activities. Council has in recent years discouraged staff from
          proactively working with LC (or Steiner); appetite for using alternative resolution
          processes has been limited.

          if L,C indeed plans to submit a proposal for development, it will be imperative that.
          Council provide clear direction. The Comprehensive Plan recommends we pursue a
          public-private partnership to best achieve the goals of the plan.. Do we want to
          proactively negotiate to try to shape the project to meet more of the expectations of the
          community and Council? Which elements or expectations are most critical to
          emphasize? What role do you want staff to play in these efforts? What does success
          look like in such endeavors? These are questions I believe should be discussed at the
          retreat or earlier.




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